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                         Exhibit A
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                        THE PORT AUTHORITY OF NEW YORK &NEW JERSEY
                          FINANCIAL STATEMENTS AND APPENDED NOTES
                             FOR THE YEAR ENDED DECEMBER 31 2011


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INDEPENDENT AUDITORS'REPORT

Board of Commissioners
The Port Authority of New York and New Jersey

We have audited the accompanying consolidated financial statements ofnet assets of The Port Authority
of New York and New Jersey (the "Port Authority")as of December 31,2011 and 2010, and the related
consolidated statements ofrevenues, expenses, and changes in net assets, and cash flows for the years
then ended. These consolidated financial statements are the responsibility ofthe Port Authority's
management. Our responsibility is to express an opinion on these consolidated financial statements based
on our audits.

We conducted our audits in accordance with auditing standards generally accepted in the United States of
America. Those standards require that we plan and perform the audit to obtain reasonable assurance about
whether the consolidated financial statements are free of material misstatement. An audit includes
consideration of internal control over financial reporting as a basis for designing audit procedures that are
appropriate in the circumstances, but not for the purpose of expressing an opinion on the effectiveness of
the Port Authority's internal control over financial reporting. Accordingly, we express no such opinion.
An audit also includes examining on a test basis, evidence supporting the amounts and disclosures in the
consolidated financial statements, assessing the accounting principles used and significant estimates made
by management, as well as evaluating the overall financial statement presentation. We believe that our
audits provide a reasonable basis for our opinion.

In our opinion, such consolidated financial statements present fairly, in all material respects, the net assets
ofthe Port Authority as of December 31, 2011 and 2010, and the changes in its net assets and cash flows
for the years then ended in conformity with accounting principles generally accepted in the United States
of America.

As discussed in Note A-4 to the consolidated financial statements, the Port Authority has prepared the
accompanying Schedules A,B and C in accordance with Port Authority bond resolutions, which is a
comprehensive basis of accounting other than accounting principles generally accepted in the United
States of America. These schedules are the responsibility ofthe Port Authority's management. The
effects ofthe differences between the bond resolution basis of accounting and accounting principles
generally accepted in the United States of America are also discussed in Note A-4 to the financial
statements.

In our opinion, because ofthe effects ofthe differences between the two bases of accounting referred to in
the preceding paragraph, such Schedules A,B and C do not present fairly, in conformity with accounting
principles generally accepted in the United States of America,the assets and liabilities ofthe Port
Authority at December 31, 2011 and 2010, or its revenues and reserves for the years then ended.




                                                                                           Member of
                                                                                           Deloitte Touche Tohmatsu
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However, in our opinion, such Schedules A,B and C present fairly, in all material aspects, the assets and
liabilities ofthe Port Authority at December 31, 2011 and 2010, and its revenues and reserves for the
years then ended, in accordance with the requirements ofthe Port Authority bond resolutions as discussed
in Note A-4.

The "Management's Discussion and Analysis" and the Schedule of Funding Progress are not a required
part ofthe consolidated financial statements, but are supplementary information required by the
Governmental Accounting Standards Board. This required supplementary information is the
responsibility ofthe Port Authority's management. We have applied certain limited procedures, which
consisted principally of inquiries of management regarding the methods of measurement and presentation
ofthe supplementary information. However, we did not audit such information, and we do not express an
opinion on it.

Our audits were conducted for the purpose offorming opinions on the consolidated financial statements
and Schedules A,B and C taken as a whole. The supplemental information presented in Schedules D-1,
D-2, D-3, E,F, and G is presented for the purpose of additional analysis and is not a required part ofthe
consolidated financial statements. This supplemental information is the responsibility ofthe Port
Authority's management. Schedules D-1, D-2, E, and F have been subjected to the auditing procedures
applied in our audits ofthe consolidated financial statements and, in our opinion, are fairly stated in all
material respects in relation to the consolidated financial statements taken as a whole. Schedules D-3 and
G have not been subjected to the auditing procedures applied in our audits ofthe consolidated financial
statements and accordingly, we express no opinion on them.


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February 24, 2012
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The following discussion and analysis of the financial performance and activity of The
Port Authority of New York and New Jersey and the related entities described herein
(see Note A.1(d) — Nature of the Organization and Summary of Significant Accounting
Policies) is intended to provide an introduction to and understanding of the consolidated
financial statements of the Port Authority for the year ended. December 31, 2011, with
selected comparative information for the years ended December 31, 2010 and
December 31, 2009. This section has been prepared by management of the Port
Authority and should be read in conjunction with the financial statements and the notes
thereto, which follow this section.

Overview of 2t}'I'I Financial Results

Net assets of the Port Authority increased $701 million in 2011, compared to an
increase of $347 million in 2010.

Gross operating revenues totaled $3.8 billion in 2011, representing a $166 million
increase from 2010. This increase was primarily due to a $78 million increase in toll
and fare revenues, reflecting the partial year impact of revised toll and fare schedules
which became effective on September 18, 2011 at the Port Authority's six vehicular
crossings and the Port Authority Trans-Hudson Corporation (PATH)system; a $41
million increase in facility rental revenues associated with Special Project Bonds, Series
8, JFK International Air Terminal LLC (JFKIAT Project) issued in December 2010 for a
terminal expansion project at John F. Kennedy International Airport(JFK); and a $23
million increase in aviation fees primarily derived from cost recovery agreements with
airlines operating at LaGuardia Airport(LGA), JFK and Newark Liberty International
Airport(EWR).

Operating and maintenance expenses totaled $2.6 billion in 2011, a $34 million
decrease when compared to 2010. The decrease was primarily due to a $186 million
decrease in non-recurring capital expenditure write-offs to operating expense accounts
in 2011 compared to 2010 write-offs, which included the write-off of alternative design
work prepared in conjunction with the redevelopment of the World Trade Center(WTC)
site and the terminated Access to the Region's Core Project(ARC Project). Partially
offsetting this decrease was a $96 million increase in contract service costs in 2011
from 2010, primarily due to a $24 million increase for the use of outside legal services
and a $15 million increase in costs for the demolition of Terminal 6 and Hangar 12 at
JFK; a $41 million increase in interest expenses associated with the JFKIAT Project;
and a $15 million increase in employee compensation costs primarily due to higher
police overtime resulting from the continued heightened security levels at Port Authority
facilities.

Depreciation and amortization expense increased by $65 million in 2011 compared to
2010 primarily reflecting the full year impact of transferring $1.8 billion of construction in


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 ar~aement's Discussion and Analysis
continued

progress to completed construction in 2010 and the transfer of an additional $2.1 billion
of construction in progress to completed construction in 2011.

Net recoverables relating to the events of September 11, 2001 decreased by $53 million
in 2011 reflecting the 2010 final settlement with insurers participating in the Port
Authority's property damage and business interruption insurance claims related to the
events of September 11, 2001.

Financial income decreased by $51 million in 2011 compared to 2010 primarily due to a
$41 million year-to-year decrease in market valuation adjustments associated with three
unhedged interest rate exchange contracts (swaps). Interest expense increased by $58
million in 2011 primarily reflecting higher outstanding principal amounts in connection
with consolidated bonds and other asset financings.

Contributions, Passenger Facility Charges(PFCs) and grants increased by $382 million
in 2011 compared to 2010 primarily due to contributed capital amounts of $275 million
from the net lessees of WTC Towers 2, 3 and 4 (Silverstein net lessees) relating to the
construction of these buildings and $100 million from the Durst Corporation (Durst) for
a minority equity interest in Tower 1 Joint Venture LLC.

Other Activities

   r Capital spending by the Port Authority reached $3.4 billion in 2011 with $2.4
     billion spent on the redevelopment of the WTC site; $254 million on PATH,
     including $172 million for the purchase of new PATH rail cars and $44 million for
     the PATH signal replacement project; $214 million spent on Port Commerce
     facilities, including $109 million on channel improvement projects; $212 million
     spent on Aviation facilities, including $28 million on Terminal B mid and upper
     level modifications at EWR; $160 million spent on Tunnel, Bridge &Terminal
     facilities, including $20 million on George Washington Bridge (GWB) upper level
     structural rehabilitation; and $154 million spent on projects designed to maintain
     the safety and security across the agency's facilities.

    y The Port Authority's Preliminary 2012 Budget includes $3.7 billion in capital
      spending for investment in key regional projects such as the continued rebuilding
      of the WTC site; infrastructure improvements to the main routes and approaches
      to the Lincoln Tunnel; continued planning efforts for the replacement of the
      Goethals Bridge; rehabilitation of the Bayonne Bridge and Terminals A and B at
      EWR; runway and taxiway reconstruction at airports; and the advancement of a
      new PATH signal system.

    a~ The toll and fare schedules for the Port Authority's six vehicular crossings and
       the PATH system were revised effective on September 18, 2011. The toll for
       automobiles paying with cash. was increased from $8.00 to $12.00, with further
       increases of $1.00 scheduled in December 2012, 2014 and 2015; the cash toll
       for truck classes 2-6 was increased from $8.00 to $13.00 per axle, with further


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       increases of $2.00 per axle scheduled in December each year from 2012 through
       2015; the cash toll for buses carrying 10 or more people was increased from
       $6.00 to $20.00, with further increases of $1.00 scheduled in December each
       year from 2012 through 2015. Discounts are available for vehicles using the E-
       ZPass electronic toll collection system and certain designated user programs.
       The PATH base fare for a single trip increased from $1.75 to $2.00 per trip, with
       further increases of 25 cents scheduled on October 1St each year from 2012
       through 2014. The cost of the multi-trip tickets and SmartLink passes will
       increase on October 1St each year from 2012 through 2014 in a consistent
       manner with the base fare increase.

       As a condition of the toll and fare increases, a Special Committee of the Board of
       Commissioners (Special Committee) was formed on September 30, 2011, as
       directed by the Governors of the States of New York and New Jersey, to
       immediately commence a comprehensive audit of the Port Authority focusing on
       both a financial audit of the Port Authority's ten-year capital plan to reduce its
       size and cost and a review of the Port Authority's management and operations to
       find ways to lower costs and increase efficiencies. On January 31, 2012, the
       Special Committee issued a Phase I Interim Report to the Governors.

       On September 27, 2011, the Automobile Club of New York, Inc. d/b/a AAA New
       York and North Jersey Inc., instituted an action against the Port Authority in the
       United States District Court for the Southern District of New York seeking (i) a
       declaration that the 2011 tolls schedule is illegal and void under the Federal-Aid
       Highway Act of 1987 and the Commerce Clause of the United States
       Constitution; and (ii) to preliminarily enjoin the Port Authority from continuing to
       collect tolls under the 2011 tolls schedule pending a determination in this action
       and directing the Port Authority to reinstate the tolls in effect prior to September
       18, 2011. The Port Authority disputes the plaintiffs' allegations and vigorously
       defends the Port Authority's position that the 2011 tolls schedule is consistent
       with the just and reasonable requirement of the Federal-Aid Highway Act of
       1987, does not violate the Commerce Clause, and conforms with established
       case law.

       On February 6, 2012, United States District Court for the Southern District of
       New York denied the plaintiffs' application for a preliminary injunction.

    r After years of a severe recession affecting the global economy, including the
      New York/New Jersey region, activity levels across Port Authority facilities have
      started to recover from their recession lows. A combination of the modest gains
      in activity levels, increased rental revenues in connection with airport terminal
      expansion and the toll and fare increases have put the agency in a more
      financially sound position to support its ten-year capital plan for building new
      facilities and maintaining the existing network of facilities in a state of good
      repair. The Port Authority's Preliminary 2012 Budget anticipates a $31 million, or
      1.2%, increase in operating expenses over the 2011 budget. This increase is to


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        accommodate one-time items for an interim port operating agreement in
        connection with the surrender of certain port tenant leaseholds, and acceleration
        of a final payment under a memorandum of agreement between the Port
        Authority and the Brooklyn Bridge Park Development Corporation as well as for
        additional policing needs at the WTC site. The agency's core expenses,
        excluding these incremental costs, are relatively flat while providing
        approximately $36 million in increased air and marine terminal rent payments
        under certain lease agreements with the City of New York and the City of
        Newark.

Overview of the Financial Statements

Management's discussion and analysis is intended to serve as an introduction to the
Port Authority's financial statements, including the notes to the consolidated financial
statements, required supplementary information, financial schedules pursuant to Port
Authority bond resolutions, and statistical and other supplemental information. The
financial statements comprise the following: the Consolidated Statements of Net Assets,
the Consolidated Statements of Revenues, Expenses and Changes in Net Assets, the
Consolidated Statements of Cash Flows, and the Notes to the Consolidated Financial
Statements.

Canso[idated Statements of Net Assets

The Consolidated Statements of Net Assets present the financial position of the Port
Authority at the end of the fiscal year and include all of its assets and liabilities. Net
Assets represent the difference between total assets and total liabilities. A summarized
comparison of the Port Authority's assets, liabilities, and net assets follows:

                                                       2011              201'0
                                                                   (In thousands)
ASSETS
Current assets                                      $ 4,044,368     $ 3,348,508     $ 3,542,307
Noncurrent assets:
  Facilities, net                                    23,134,288       20,557,400     18,398,356
  Other noncurrent assets                             6,739,065        5,649,662      5,266,810
     Total assets                                    33,917,721       29,555,570     27,207,473

LIABILITIES
Current liabilities                                   2,635,668        2,456,529       2,292,249
Noncurrent liabilities:
  Bonds and other asset financing obligations        15,751,041       13,554,884      12,406,153
  Other noncurrent liabilities                        3,805,121        2,519,534       1,831,289
     Total I iabilities                              22,191,830       18,530,947      16,529,691

NET ASSETS
  Invested in capital assets, net of related debt     10,020,306       9,200,077       8,415,993
  Restricted                                             294,460         222,871         211,725
  Unrestricted                                         1,411,125       1,601,675       2,050,064
    Total net assets                                $ 11,725,891    $ 11,024,623    $ 10,677,782




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IVIa►~agement's Discussion and Analysis
 continued

Port Authority assets, which totaled $33.9 billion at December 31, 2011, increased by
$4.4 billion from December 31, 2010 primarily due to a $2.6 billion increase in
"Facilities, net," including both completed construction and construction in progress, and
a $1.2 billion increase in "Amounts receivable —Tower 4 Liberty Bonds" in 2011 due to
the issuance of"New York Liberty Development Corporation, Liberty Revenue Bonds,
Series 2011 (4 World Trade Center Project)"(Tower 4 Liberty Bonds) in November
2011 by the New York Liberty Development Corporation for the continued construction
of WTC Tower 4. In addition, cash and investments increased by $605 million primarily
due to an increase in available bond proceeds received in connection with the issuance
of capital obligations, and an increase in Port Authority reserve funds. Partially
offsetting these increases was a $132 million decrease in "Other amounts receivable,
net" due to the satisfaction of the receivable recognized in 2001 in connection with the
recovery for and development of certain capital assets primarily comprised of WTC
Towers 2, 3 and 4.

Port Authority liabilities totaled $22.2 billion at December 31, 2011, an increase of $3.7
billion from December 31, 2010. This increase was primarily due to a $2.2 billion
increase in "Bonds and other asset financing obligations" resulting from the issuance of
consolidated bonds in connection with the Port Authority's capital plan and a $1.2 billion
increase in "Amounts payable —Tower 4 Liberty Bonds" in 2011 due to the issuance of
Tower 4 Liberty Bonds in November 2011 by the New York Liberty Development
Corporation for the continued construction of WTC Tower 4(see Note D and Note K).

Net assets totaled $11.7 billion at December 31, 2011, an increase of $701 million from
December 31, 2010. "Invested in capital assets, net of related debt," totaling $10 billion
at December 31, 2011, represents the largest of the three components of Port Authority
Net Assets and comprises investment in capital assets (such as land, buildings,
improvements and equipment), less the related outstanding indebtedness used to
acquire those capital assets: Net Assets reported as restricted due to constraints
imposed by agreements or legislation totaled $294 million, comprised of $160 million for
Port Authority Insurance Captive Entity, LLC (PAIGE); $100 million for a minority equity
interest in Tower 1 Joint Venture LLC; $20 million in PFCs restricted for use on projects
or expenditures eligible for the application of PFCs; and $14 million in insurance
proceeds which are restricted to business interruption obligations and redevelopment
expenditures of WTC Retail LLC. The balance of net assets at December 31, 2011
totaling $1.4 billion are unrestricted and may be used to meet ongoing Port Authority
obligations.




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Consolidated Statemenfis of Reuenues, Expenses and Changes in Net Assets

The change in net assets is an indicator of whether the overall fiscal condition of an
organization has improved or worsened during the year. Following is a summary of the
Consolidated Statements of Revenues, Expenses and Changes in Net Assets:
                                                     2011            2010            2009
                                                                      (In thousands)
 Gross operating revenues                       $ 3,800,480     $ 3,634,023     $ 3,552,243
 Operating expenses                              (2,564,969)     (2,598,557)     (2,438,670)
 Depreciation and amortization                     (930,264)       (865,515)       (786,948)
 Net recoverables related to the events of
 September 11 2001                                        -          53,051          202,978
    Income from operations                          305,247         223,002          529,603
 Net non-operating expenses                       (609,172)       (499,338)       (329,326)
 Contributions PFCs and grants                   1,005,193         623,177         646,141
    Increase in net assets                      $ 701,268       $ 346,841       $ 846,418

Additional information on facility operating results can be found in Schedule E located in
the Statistical and Other Supplemental Information section of this report.



A summary of gross operating revenues follows:
                                                      2011            2010            2009
                                                                    (In thousands)
Gross operating revenues:
  Rentals                                       $ 1,150,569     $ 1,144,709     $ 1,115,652
  Tolls and fares                                 1,148,061       1,069,785       1,068,105
  Aviation fees                                     895,356         872,774         839,327
  Parking and other                                 339,131         321,257         316,005
  Utilities                                         154,810         154,041         140,817
  Rentals - Special Project Bonds Projects          112,553          71,457          72,337
    Total                                       $ 3,800,480     $ 3,634,023     $ 3,552,243

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Gross operating revenues totaled $3.8 billion for the year ended December 31, 2011, a
$166 million increase from 2010. The increase in operating revenues was primarily due
to:

      Toll revenues from the Port Authority's six vehicular crossings increased by $68
      million in 2011 compared to 2010. The increase was primarily due to the partial
      year impact of revised tolls which became effective on September 18, 2011;
      partially offsetting this increase was a 1.7% overall decline in vehicular activity at
      the Port Authority's six vehicular crossings in 2011 when compared to 2010.
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     PATH fares increased by $10 million in 2011 compared to 2010 primarily due to
     the partial year impact of revised fares which became effective on September 18,
     2011; this increase was furthered by an increase in overall ridership levels of 3.6%
     in 2011 when compared to 2010.

 y Rentals — Special Project Bonds Projects revenue increased by $41 million due to
   the full year impact of the December 2010 issuance of JFKIAT Project obligations
   in connection with the expansion of Terminal 4 at JFK.

 `r Aviation fees increased by $23 million year-to-year primarily reflecting higher
    revenues derived from cost recovery agreements with the airlines operating at
    LGA, JFK and EWR.

 v Parking and other revenues increased by $18 million in 2011 compared with 2010
   primarily due to a $7 million net increase related to the establishment of the Cargo
   Facility Charge, a cargo activity based port infrastructure and security fee, in March
   2011; and a $6 million increase for the sale of development rights at Queens West
   Waterfront Development Facility.

     Rental revenues increased by $6 million in 2011 compared to 2010 primarily due to
     a $41 million increase in fixed and activity based rentals from major tenants at
     Aviation and Port Commerce facilities. Partially offsetting these increases was a
     $33 million decrease under the net leases for WTC Towers 2 and 3, resulting from
     the full year impact of the 2010 net lease amendments in connection with the
     implementation of the 2010 World Trade Center Eastside Development Plan.



Gross operating revenues totaled $3.6 billion for the year ended December 31, 2010, an
$82 million increase from 2009. The increase in operating revenues was primarily due
to:

 r Aviation fees increased by $33 million year-to-year reflecting higher revenues
   derived from cost recovery agreements with the airlines operating at LGA, JFK
   and EWR.

 o Rental revenues increased by $29 million in 2010 compared to 2009 primarily due
   to higher fixed and activity based rentals from tenants at Aviation and Port
   Commerce facilities. The increased rentals were partially offset by lower rental
   revenues under the net leases for WTC Towers 2 and 3 as a result of amendments
   in connection with the implementation of the 2010 World Trade Center Eastside
   Development Plan; and a decrease in revenues associated with the Ramada Hotel
   at JFK which closed in December 2009.

  ~= Utility revenues increased by $13 million in 2010 compared to 2009 primarily due
     to higher rates and increased consumption for electricity and water.


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 r Parking and other revenues increased by $5 million in 2010 compared with 2009
   primarily due to an increase in express rail lift fees at Port Newark and Elizabeth —
   PortAuthority Marine Terminal; and an increase in vehicular parking activity at
   LGA, JFK and EWR, partially offset by a decrease in gate and tipping fees at the
   Essex County Resource Recovery Facility due to lower rates.

 v Toll and fare revenues increased $2 million in 2010 compared to 2009 reflecting a
   2.3%increase in ridership levels on the PATH system, offset by a 0.2% overall
   decline in vehicular activity at Port Authority tunnel and bridge crossings in 2010..

Expenses

A summary of operating expenses follows:
                                                    2011           2010          2009
                                                             (In thousands)
Operating expenses:
  Employee compensation, including benefits    $ 1,037,681     $1,022,195     $ 974,154
  Contract services                                726,883        630,438        683,418
  Rents and amounts in-lieu-of taxes               280,237        272,002        276,830
  Materials, equipment and other                   219,183        418,639        263,682
   Utilities                                       188,432        183,826        168,249
  Interest on Special Project Bonds                112,553         71,457         72,337
     Total                                     $ 2,564,969     $2,598,557     $2,438,670

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Operating expenses totaled $2.6 billion in 2011, a $34 million decrease from 2010. The
year-to-year decrease was primarily due to the following:

      Costs for materials, equipment and other items decreased by $199 million in 2011
      from 2010 primarily due to a $214 million decrease in non-recurring capital
      expenditure write-offs to operating expense accounts. 2010 write-offs included
      alternative design work performed in conjunction with the redevelopment of the
      WTC site, the terminated ARC Project, and $28 million associated with the 2010
      purchase of a portion of the former Marine Ocean Terminal at Bayonne Peninsula
      (MOTBY). Partially offsetting these decreases were a $10 million increase in the
      write-off of bad debt at Port Authority facilities, and a $7 million increase in the
      actuarially determined incurred but not reported (IBNR) loss provision for PAICE.

  Y Contract service costs increased by $96 million in 2011 from 2010 primarily due to
    a $24 million increase in the use of outside legal services, a $15 million increase in
    costs for the demolition of Terminal 6 and Hangar 12 at JFK, and a $12 million
    increase in costs for interim terminal operating agreements at the New York Marine
    Terminal at Red Hook and New Jersey Marine Terminal at Port Newark.



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    Interest expenses associated with Special Project Bonds increased by $41 million
    due to the full year impact of the December 2010 issuance of JFKIAT Project
    obligations in connection with the expansion of Terminal 4 at JFK.

    Employee compensation costs increased by $15 million in 2011 compared to 2010
    primarily due to an increase of $25 million in labor charges, including a $21 million
    increase in policing costs resulting from the continued heightened security levels at
    Port Authority facilities; partially offsetting these increases was a $10 million
    decrease in overall benefit expenses, primarily due to lower other postemployment
    benefits(OPEB).

2010 vs. 2009

Operating expenses totaled $2.6 billion in 2010, a $160 million increase from 2009. The
year-to-year increase was primarily due to the following:

 Y Costs for materials, equipment and other items increased by $155 million in 2010
   from 2009 primarily due to the write-off of approximately $222 million in capital
   expenditures to operating expense accounts, primarily for design work related to
   alternative analyses performed in conjunction with the redevelopment of the WTC
   site and the termination of the ARC Project; a $31 million increase in acquisition
   costs associated with the purchase of a portion of the former MOTBY. These one-
   time charges were partially offset by a $70 million decrease in expenses reflecting
   the termination in 2009 of the Port Authority's payment of liquidated damages to
   the Silverstein net lessees for WTC Towers 2 and 3 in connection with the timing of
   the Port Authority's turnover of the site for such towers to the net lessees thereof;
   and a $17 million decrease in the loss provision for IBNR claims associated with
   PAICE.

 r Employee compensation costs increased by $48 million in 2010 compared to 2009
   primarily due to higher expenses for retirement benefits associated with a 2010
   New York State Retirement System retirement incentive program and OPEB.

 Y Utility expenses increased $16 million in 2010 from 2009 due to higher rates and
   increased consumption for electricity and water.

     Contract service costs decreased $53 million in 2010 from 2009 primarily due to
     the closing of the Ramada Hotel at JFK in December 2009, lower outside legal
     costs associated with the redevelopment of the WTC site, and lower architectural
     and design consulting costs associated with the Port Authority's operating major
     works program.




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Management's Discussion and Analysis
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Depreciatian and Amortization

A summary of depreciation and amortization expenses follows:

                                                       2011          2010         2009
                                                                (In thousands)
Depreciation and amortization:
  Depreciation of facilities                         $852,727       $789,011     $712,331
  Amortization of costs for regional programs          77,537         76,504       74,617
     Total                                           $930,264       $865,515     $786,948

 1           1   f


Depreciation and amortization expense totaled $930 million in 2011, an increase of $65
million compared to 2010. The increase primarily reflects fihe full year impact of
transferring $1.8 billion of construction in progress to completed construction in 2010
and the transfer of an additional $2.1 billion in capital expenditures to completed
construction in 2011. 2011 transfers of $2.1 billion were comprised of $983 million for
the construction of WTC site infrastructure; $386 million of Aviation related investment
including $200 million for runway and taxiway improvements; $203 million for capital
projects designed to maintain security at Port Authority facilities; and $193 mil-lion for
130 new PATH rail cars.



Depreciation and amortization expense totaled $866 million in 2010, an increase of $79
million compared to 2009. The increase primarily reflects the full year impact of
transferring $1.3 billion of construction in progress to completed construction in 2009
and the transfer of an additional $1.8 billion in capital expenditures to completed
construction in 2010. The 2010 transfer of $1.8 billion included in excess of $590
million in aviation related investment, comprising $265 million for runways and taxiways,
including $188 million for the Bay Runway at JFK, $175 million in terminal
improvements, and $150 million in infrastructure and other improvements. In addition,
transfers to completed construction included $277 million for new PATH rail cars, $109
million for the acquisition of MOTBY,$101 million for land acquisitions and easements
attributable to the terminated ARC Project and $178 million for capital projects designed
to maintain the safety and security of the agency's facilities.




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Management's Discussion and Analysis
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Non-operating Revenues and Expenses
                                                            2011              2010        2009
                                                                       (In thousands)
Non-operating revenues and (expenses):
  Interest income                                       $  54,398         $   61,168    $ 67,820
  Net(decrease) increase in fair value of investments    (101,296)           (56,733)     78,741
  Interest expense in connection with
     bonds and other asset financing                     (559,110)          (501,607)   (501,892)
  Net gain on disposition of assets                                -               -      27,125
  Pass-through grant program payments                     (11,507)            (2,166)     (1,120)
  4 WTC associated payments
     Net non-operating expenses                         $(609,172)        $(499,338)    $(329,326)


2011 us. 2010

Financial income, including interest income and changes to the fair value of investments
decreased by $51 million in 2011 compared with 2010, primarily due to a $45 million
decrease in the fair value of investments, including a $41 million year-to-year decrease
in market valuation adjustments associated with three unhedged swaps, and a $7
million decrease in earnings on investment securities due to a lower interest rate
environment. Financial expense in connection with bonds and other financing
obligations of $559 million increased by $58 million in 2011 from 2010, primarily
reflecting higher average principal balances of outstanding debt obligations in 2011
compared to 2010, including $8 million of accrued interest expense associated with
Tower 4 Liberty Bonds issued in November 2011 for the continued construction of WTC
Tower 4. Partially offsetting these amounts was an $8 million increase in "4 WTC
associated payments" reflecting the reimbursement from the WTC Tower 4 net lessee
for accrued interest expense associated with Tower 4 Liberty Bonds.



Financial income, including interest income and changes to the fair value of
investments, decreased by $142 million in 2010 compared with 2009 due to lower
markefi valuation adjustments for three unhedged swaps and lower earnings on
investment securities due to a lower interest rate environment. Overall interest expense
remained relatively flat year-to-year.




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Contributions, Passenger acilifiy Charges araci grants

                                                  2011             2010        2009
                                                           (In thousands)
Contributions in aid of construction          $ 767,010        $ 358,268    $ 382,978
Passenger Facility Charges                      214,456          210,387      201,737
1 WTC LLC/WTC Retail LLC insurance proceeds           -           42,814       50,813
Grants                                           23,727           11,708       10,613
  Total                                       $1,005,193       $ 623,177    $ 646,141


~0'I 1 vs. 201 D

PFCs, grants, 1 Worid Trade Center LLC (1 WTC LLC)/ WTC Retail LLC restricted
insurance proceeds and other contributions in aid of construction totaled $1 billion in
2011, representing a $382 million increase from 2010. The total year-to-year increase
was primarily due to contributed capital amounts of $275 million from Silverstein net
lessees for the construction of WTC Towers 2, 3 and 4, and a $100 million capital
contribution by Durst for a minority equity interest in Tower 1 Joint Venture LLC. These
increases were partially offset by a decrease of $43 million in insurance proceeds
received in connection with the November 2006 global settlement of 1 WTC LLC and
WTC Retail LLC allocated amounts of September 11, 2001 property damage and
business interruption claims.



PFCs, grants, 1 WTC LLC/ UVTC Retail LLC restricted insurance proceeds and other
contributions totaled $623 million in 2010, representing a $23 million decrease from
2009. The year-to-year decrease is primarily due to lower amounts received in
connection with capital projects eligible for federal funding from the Federal Transit
Administration (FTA) and insurance proceeds received in connection with the November
2006 global settlement of the WTC net lessees September 11, 2001 property damage
and business interruption claims. The decrease was partially offset by an increase in
PFC collections reflecting higher passenger activity at LGA and JFK.




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Management's Discussion and Analysis
continued

Capital Gc~nstruction Activities

Port Authority expenditures for capital construction projects, including contributed capital
amounts, totaled $3.4 billion in 2011, $3.0 billion in 2010 and $2.7 billion in 2009.
The following chart depicts net capital expenditures for the last three years summarized
by line of business:


                                          Net Capital Expenditures

        3000

                                                                                       2,470
        2500


  N 2000
  c                                                                                            1,529
  A
        1500
 ',~~                                                                                                1,317
   C
        1000
                                                 658
                               339    327    5
         500                      315                        303
                         175              244
                169150                                 229         174                                       3 30 26     0 84 ~ ~
                                                                         -21 49.31
          0


        -500
                 Tunnels,        PATH      Aviation      Port"           Development    w i 4 site       rteg~onai     Arcs rro~ect
                 Bridges &                             Commerce                                          Programs
                                                                                                       LV~Othe~
               JCI~IIICIII'S    GU (1      LUIl.~~                                     LVU/
                                              ozo» ~ osoio zoos




Funding sources for the $3.4 billion of Port Authority capital investment in 2011 were as
follows: $2.1 billion was funded with proceeds received from the issuance of capital debt
obligations, $199 million was funded with PFCs, $123 million was funded with FTA
contributions in aid of construction for the WTC Transportation Hub, $37 million was
funded with other contributions in aid of construction, $12 million was funded with
1 WTC LLC insurance proceeds, $272 million was funded with Port Authority
Consolidated Bond Reserve Fund, $100 million was funded with Tower 1 Joint Venture
LLC capital contributions, $489 million was funded from WTC Towers 2, 3 and 4 net
lessee capital contributions, and the balance of approximately $97 million was funded
through other sources.

Additional capital investment information on Port Authority facilities can be found in Note
B - Facilities, Net to the consolidated financial statements and in Schedule F —
Information on Port Authority Capital Program Components located in the Statistical and
Other Supplemental Information section of this report.



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  a          .•


2012 Planned Capital Expenditures

The Preliminary 2012 Budget includes capital spending of approximately $3.7 billion, as
depicted in the following chart:



                                  Allocation of
                        2012 Planned Capital Expenditures
                                           REGIONAL
                                           PROGRAMS
                                            & OTHER
                                             3%                      AVIATION
                                                                       12%
                         DEVELOPMENT
                             1%

                                                ~''4''`
                                                          -.__                         PATH

                                                                           ~;
                                                                   _fir:

             WTC SITE                                                           PORT COMMERCE
               51%                                                                    8%
                                                          TUNNELS,BRIDGES
                                                            &TERMINALS
                                                                16%




Major elements of 2012 planned capital expenditures include:

   y Continued redevelopment of the WTC site, including One World Trade Center, the
     WTC Transportation Hub, certain WTC site infrastructure, the WTC Vehicular
     Security Center and Tour Bus Parking Facility, and WTC retail redevelopment

        Improvements to infrastructure for the main routes and approaches to the Lincoln
        Tunnel

      y Continued planning efforts for replacement of the Goethals Bridge and
        rehabilitation of the Bayonne Bridge

  'v Rehabilitation of the Holland Tunnel ventilation system, GWB upper level deck,
     and Lincoln Tunnel helix and bus ramps




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Management's Discussion and Analysis
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   y Planning activities for the modernization of Terminals A and B at EWR, and the
     expansion of Terminal 4 at JFK

      Airport runway and taxiway reconstruction

  r Advancement of the PATH signal replacement program

  v Enhancement to safety and security projects on the PATH system

  'v Continued Port Commerce capacity improvements including rail and roadway
     enhancements, channel improvements and the redevelopment of the Port Jersey
     — Port Authority Marine Terminal

Capital Financing and Debt Management

As of December 31, 2011, bonds and other asset financing obligations of the Port
Authority totaled approximately $16.6 billion, excluding $1.2 billion associated with the
issuance of Tower 4 Liberty Bonds.

During 2011, the Port Authority issued $2.6 billion of Consolidated Bonds. Of this
amount, $2.1 billion was allocated to fund projects and $486 million was used to refund
existing outstanding obligations.

Listed below is a summary of credit ratings assigned to outstanding debt obligations of
the Port Authority. All ratings for the obligations outstanding in 2010 have remained the
same for 2011. During 2011, Standard and Poor's(S&P) and Fitch Ratings considered
the Port Authority's outlook as stable. In January 2011, Moody's Investors Service
revised the Port Authority's overall economic outlook from stable to negative.

                                                                    Moody's
           OBLIGATION                 S8~P     Fitch Rati       Investors Service
           Consolidated Bonds         AA-           AA-                Aa2
           Commercial Paper           A-1+          F1+                P-1

Each rating reflects only the view of the ratings service issuing such rating and is not a
recommendation by such ratings service to purchase, sell or hold any maturity of Port
Authority obligations or as to market price or suitability of any maturity of the obligations
for a particular investor. An explanation of the significance of a rating may be obtained
from the ratings service issuing such rating. There is no assurance that any rating will
continue for any period of time or that it will not be revised or withdrawn. A revision or
withdrawal of a rating may have an effect on market price. Additional information on
Port Authority debt obligations can be found in Note D - Outstanding Obligations and
Financing to the consolidated financial statements.




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  • . .. -•
                                                                                December 31,
                                                                           2011              201
                                                                             (In thousands)
ASSETS
Current assets:
    Cash                                                          $   3,297,365     $   2,451,050
    Restricted cash                                                      25,472            77,167
    Investments                                                          26,290           250,696
    Current receivables, net                                            362,875           342,813
    Other current assets                                                285,938           176,514
    Restricted receivables and other assets                              46,428            50,268
       Total current assets                                           4,044,368         3,348,508

Noncurrent assets:
    Restricted cash                                                        7,765             6,618
    Investments                                                        1,356,269         1,339,148
    Restricted investments - PAICE                                       156,356           139,696
    Other amounts receivable, net                                        106,989           239,270
    Deferred charges and other noncurrent assets                       1,507,637         1,435,165
    Restricted deferred /other noncurrent assets - PAICE                  13,409            14,564
    Amounts receivable - Special Project Bonds                         1,720,536         1,780,813
    Amounts receivable -Tower 4 Liberty Bonds                          1,249,921                 -
    Unamo~tized costs for regional programs                              620,183           694,388
    Facilities, net                                                   23,134,288        20,557,400
        Total noncurrent assets                                       29,873,353        26,207,062
Total assets                                                          33,917,721        29,555,570

LIABILITIES
Current liabilities:
    Accounts payable                                                    818,149            717,992
    Accrued interest and other current liabilities                      759,127            566,732
    Restricted other liabilities - PAICE                                     816               351
    Accrued payroll and other employee benefits                          231,657           198,574
    Current portion bonds and other asset financing obligations          825,919           972,880
       Total current liabilities                                       2,635,668         2,456,529

Noncurrent liabilities:
    Accrued pension and other noncurrent employee benefits               476,879           543,747
    Other noncurrent liabilities                                         311,396           150,894
    Restricted other noncurrent liabilities - PAICE                       46,389            44,080
    Amounts payable - Special Project Bonds                            1,720,536         1,780,813
    Amounts payable -Tower 4 Liberty Bonds                             1,249,921                 -
    Bonds and other asset financing obligations                       15,751,041        13,554,884
        Total noncurrent liabilities                                  19,556,162        16,074,418
Total liabilities                                                     22,191,830        18,530,947

 NET ASSETS                                                       $   11,725,891    $ 11,024,623


 Net assets are composed of:
    Invested in capital assets, net of related debt               $   10,020,306    $    9,200,077
     Restricted:
          1 WTC LLC/WTC Retail LLC insurance proceeds                     14,434            71,732
          Passenger Facility Charges                                      19,590            20,779
          Port Authority Insurance Captive Entity, LLC                   160,436           130,360
          Minority interest in Tower 1 Joint Venture LLC                 100,000                 -
     Unrestricted                                                      1,411,125         1,601,675

 NET ASSETS                                                       $   11,725,891    $ 11,024,623



See Notes to Consolidated Financial Statements                                                       ~$
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                                   ~..... ~             •
                                                        '               i   •              a
  f    i   •    t                         '

                                                                                    Year ended December 31,
                                                                                     2011       _        2010
                                                                                          (In thousands)
Gross operating revenues:
  Rentals                                                                       $    1,150,569    $    1,144,709
  Tolls and fares                                                                    1,148,061         1,069,785
  Aviation fees                                                                        895,356           872,774
  Parking and other                                                                    339,131           321,257
  Utilities                                                                            154,810           154,041
  Rentals - Special Project Bonds Projects                                             112,553            71,457
Total gross operating revenues                                                       3,800,480         3,634,023

Operating expenses:
   Employee compensation, including benefits                                         1,037,681         1,022,195
   Contract services                                                                   726,883           630,438
   Rents and amounts in-lieu-of taxes                                                  280,237           272,002
   Materials, equipment and other                                                      219,183           418,639
   Utilities                                                                           188,432           183,826
   Interest on Special Project Bonds                                                   112,553            71,457
Total operating expenses                                                             2,564,969         2,598,557


Net (recoverables) related to the events of September 11, 2001                               ~           (53,051)
Depreciation of facilities                                                             852,727           789,011
Amortization of costs for regional programs                                             77,537            76,504
Income from operations                                                                 305,247           223,002

Non-operating revenues and (expenses):
  Interest income                                                                       54,398            61,168
  Net (decrease) in fair value of investments                                         (101,296)          (56,733)
  Interest expense in connection with bonds and other asset financing                 (559,110)         (501,607)
  Net gain on disposition of assets                                                          -
  Pass-through grant program payments                                                  (11,507)           (2,166)
  4 WTC associated payments                                                              8,343                 -
Net non-operating expenses                                                            (609,172)         (499,338)

Contributions, Passenger Facility Charges and Grants:
   Contributions in aid of construction                                                767,010           358,268
  Passenger Facility Charges                                                            214,456          210,387
   1 WTC LLC/WTC Retail PLC insurance proceeds                                                -           42,814
   Grants                                                                                23,727           11,708
Total contributions passenger facility charges and grants                             1,005,193          623,177


Increase in net assets                                                                  701,268          346,841
Net assets January 1                                                                 11,024,623       10,677,782

Net assets, December 31                                                         $    11,725,891    $ 11,024,623




See Notes to Consolidated Financial Statements                                                                  19
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Consolidated Statements of Cash Flows
                                                                              Year Ended December 31,
                                                                               2011                 2010
                                                                                      (In thousands)
1. Cash flows from operating activities:
    Cash received from operations                                         $ 3,788,114          $    3,677,899
    Cash received related to the events of September 11, 2001                        -                 55,675
    Cash paid to suppliers                                                  (1,067,026)              (984,824)
    Cash paid to or on behalf of employees                                  (1,097,311)            (1,009,290)
    Cash paid to municipalities                                               (271,706)              (273,781)
    Cash payments related to the events of September 11, 2001                        -                 (3,607)
      Net cash provided by operating activities                              1,352,071              1,462,072

   Cash flows from noncapital financing activities:
    Proceeds from insurance related to the 1 WTC LLC/WTC Retail LLC                   -               42,814
    Principal paid on noncapital financing obligations                          (30,485)             (11,840)
    Payments for Fund buy-out obligation                                        (43,211)             (43,211)
    Interest paid on noncapital financing obligations                              (217)                (360)
    Grants                                                                       20,742               11,251
       Net cash used for noncapital financing activities                        (53,171)              (1,346)

   Cash flows from capital and related financing activities:
    Proceeds from sales of capital obligations                                 2,337,635            1,219,309
    Contribution for Tower 1 Joint Venture LLC minority equity interest          100,000                    -




    Principal paid on capital obligations                                       (216,748)            (208,157)
    Proceeds from capital obligations issued for refunding purposes            1,132,865            2,985,015
    Principal paid through capital obligations refundings                     (1,132,865)          (2,985,015)
    Interest paid on capital obligations                                        (697,184)            (628,705)
    Investment in facilities and construction of capital assets               (2,858,190)          (2,712,821)
    Payments for MOTBY obligation                                                (35,000)             (40,000)
    Financial income allocated to capital projects                                 2,212                3,117
    Investment in regional programs                                               (3,332)             (29,626)
    Proceeds from Passenger Facility Charges                                     215,645              206,751
    Contributions in aid of construction                                         420,671              356,592
       Net cash used for capital and related financing activities               (734,291)          (1,833,540)

   Cash flows from investing activities:
    Purchase of investment securities                                          (748,818)           (1,570,286)
    Proceeds from maturity and sale of investment securities                    930,332             2,423,539
    Interest received on investment securities                                   40,420                48,803
    Other interest income                                                         9,224                 9,038
       Net cash provided by investing activities                                231,158               911,094

       Net increase in cash                                                      795,767              538,280
       Cash at beginning of year                                               2,534,835            1,996,555
       Cash at end of year                                                $    3,330,602       $    2,534,835




See Notes to Consolidated Financial Statements.                                                            20
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Consolidated Statements of Cash Flows
(continued)
                                                                                           Year ended December 31,
                                                                                             2011             2010
                                                                                                 (In thousands)
2. Reconciliation of income from operations to net
   cash provided by operating activities:

    Income from operations                                                            $      305,247     $     223,002

    Adjustments to reconcile income from operations to net cash
     provided by operating activities:
       Depreciation of facilities                                                            852,727            789,011
       Amortization of costs for regional programs                                            77,537             76,504
       Amortization of other assets                                                           81,462            265,647

    Change in operating assets and operating liabilities
      Decrease in receivables                                                                 113,308           118,719
      (Increase) in deferred charges and other assets                                         (83,332)         (120,103)
      Increase (decrease) in payables                                                          31,998           (72,684)
      Increase in other liabilities                                                            33,816           169,682
      (Decrease) increase in accrued payroll, pension and other employee benefits             (60,692)           12,294
         Total adjustments                                                                  1,046,824         1,239,070

    Net cash provided by operating activities                                          $    1,352,071    $    1,462,072


3. Capital obligations:
    Consolidated bonds and notes, commercial paper, variable rate master notes, and versatile structure obligations.


4. Noncash investing, capital and financing activities:
    Noncash activity of $1,316,035,000 in 2011 and $804,556,000 in 2010 included amortization of discount and
    premium on consolidated bonds and notes, accretion associated with capital appreciation bonds, and debt service in
    connection with Special Project Bonds and Tower 4 Liberty Bonds.

    Noncash capital financing did not include any activities that required a change in fair value. The existing capital
    receivable, in connection with the Silverstein net lessees' capital investment associated with WTC Towers 2, 3 and
    4, was reduced by $165 million in 2011. As of December 31, 2011, the requisite receivable was fully satisfied. In
    2011, the Silverstein net lessees contributed $489 million towards construction of WTC Towers 2, 3 and 4.

    The market value of the three unhedged swaps was($241,877,166) as of December 31, 2011, a decrease
    of $94 million from December 31, 2010(see Note D).




 See Notes to Consolidated Financial Statements.                                                                       21
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Note A — Nature of the Organization and Summary of Significant Accounting Policies

1. Reporting Entity

   a. The Port Authority of New York and New Jersey was created in 1921 by Compact
      befinreen the States of New York and New Jersey with the consent of the United
      States Congress. The Compact envisions the Port Authority as being financially
      self-sustaining. As such, the agency must raise the funds necessary for the
      improvement, construction or acquisition of its facilities and their operation
      generally upon the basis of its own credit. Cash derived from Port Authority
      operations and other cash received may be disbursed only for specific purposes in
      accordance with provisions of various statutes and agreements with holders of its
      obligations and others. The costs of providing facilities and services to the general
      public on a continuing basis are recovered primarily from operating revenue
      sources, including rentals, tolls, fares, aviation and port fees, and other charges.

   b. The Governor of each State, with the consent of the respective State Senate,
      appoints six of the twelve members of the governing Board of Commissioners.
      The Commissioners serve without remuneration for six-year overlapping terms.
      Meetings of the Commissioners of the Port Authority are open to the public in
      accordance with policies adopted by the Commissioners. The actions taken by the
      Commissioners at Port Authority meetings are subject to gubernatorial review and
      may be vetoed by the Governor of their respective State.

   c. The Audit Committee, which consists of four members of the Board of
      Commissioners other than the Chairman and Vice Chairman of the Port Authority,
      provides oversight of the quality and integrity of the Port Authority's framework of
      internal controls, compliance systems and the accounting, auditing and financial
      reporting processes. The Audit Committee retains independent auditors and
      reviews their performance and independence. The independent auditors are
      required to provide written disclosure of, and discuss with the Committee, any
      significant relationships or issues that would have a bearing on their
      independence. The Audit Committee meets directly, on a regular basis, with the
      independent auditors, a law firm retained to address certain Audit Committee
      matters, and management of the Port Authority. For the year ending December
      31, 2011, Deloitte & Touche LLP are serving as independent auditors. On
      December 8, 2011, the Audit Committee selected KPMG LLP as independent
      auditors to perform the audit for the year ending December 31, 2012.

   d. The consolidated financial statements and schedules include the accounts of The
      Port Authority of New York and New Jersey and the related entities: Port Authority
      Trans-Hudson Corporation (PATH), the Newark Legal and Communications
      Center Urban Renewal Corporation, Port Authority Insurance Captive Entity, LLC
      (PAIGE), WTC Retail LLC, Tower 5 LLC (formerly "1 WTC LLC'), Tower 1
      Member LLC, Tower 1 Joint Venture LLC, Tower 1 Holdings LLC, WTC Tower 1
      LLC, and New York New Jersey Rail LLC (all collectively referred to as the Port
      Authority).
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continued

2. Basis of Accounting

   a. The Port Authority's activities are accounted for using the flow of economic
      resources measurement focus and the accrual basis of accounting. All assets,
      liabilities, net assets, revenues and expenses are accounted for in an enterprise
      fund with revenues recorded when earned and expenses recorded at the time
      liabilities are incurred.

   b. In 2011, the Port Authority adopted Government Accounting Standards Board
      (GASB)Statement No. 62, Codification of Accounting and Financial Reporting
      Guidance Contained in Pre-November 30, 1989 FASB and AICPA
      Pronouncements, which requires the Port Authority to follow the pronouncements
      of the GASB in its accounting and financial reporting. GASB Statement No. 62
      supersedes previous guidance contained in GASB Statement No. 20, Accounting
      and Financial Reporting for Proprietary Funds and Other Governmental Activities
       That Use Proprietary Funds Accounting. The objective of GASB Statement No. 62
      was not to change existing accounting guidance, rather it was to incorporate into
      GASB authoritative literature certain applicable accounting and financial reporting
      guidance issued on or before November 30, 1989 by the Financial Accounting
      Standards Board (FASB) or American Institute of Certified Public Accountants
      (AICPA), which does not conflict with or contradict GASB pronouncements.

3. Significant Accounting Policies

   a. Facilities are carried at cost. The costs for facilities include net interest expense
      incurred from the date of issuance of the debt to finance construction until the
      capital project is completed and ready for its intended use. Generally, projects in
      excess of $100,000 for additions, asset replacements and/or asset improvements
      that benefit future accounting periods or are expected to prolong the service lives
      of assets beyond their originally assigned lives are capitalized (see Note B).
      Facilities do not include regional programs undertaken at the request of the
      Governor of the State of New Jersey or the Governor of the State of New York
      (see Note H).

   b. Depreciation of facilities is computed using the straight-line method during the
      estimated useful lives of the related assets (see Note B). The useful lives of
      assets are developed by the various related disciplines in the Port Authority's
      Engineering Department utilizing past experience, standard industrial expectations,
      and external sources such as consultants, manufacturers and contractors. Useful
      lives are reviewed periodically for each specific type of asset class. Asset lives
      used in the calculation of depreciation are generally as follows:

          Buildings, bridges, tunnels and other structures       25   to   100   years
          Machinery and equipment                                 5   to    35   years
          Runways, roadways and other paving                      7   to    20   years
          Utility infrastructure                                 20   to    40   years

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      Assets located at facilities leased by the Port Authority from others are depreciated
      over the lesser of, the remaining term of the facility lease or the asset life stated
      above.

      Costs of regional programs are deferred and amortized on a straight-line basis
      over the period benefited up to a maximum of 15 years(see Note H). In addition,
      certain operating costs, which provide benefits for periods exceeding one year, are
      deferred as a component of deferred charges and amortized over the period
      benefited.

   c. Cash consists of cash on hand and short term cash equivalents. Cash equivalents
      are made up of negotiable order of withdrawal(NOW)accounts, United States
      Treasury bills, collateralized time deposits, and money market accounts.

   d. Restricted cash is primarily comprised of insurance proceeds of WTC Retail LLC,
      which are restricted to business interruption and redevelopment expenditures of
      the entity, PFCs and operating cash restricted for use by PAICE.

   e. Statutory reserves held by PAICE are restricted for purposes of insuring certain
      risk exposures.

   f. Inventories are valued using an average cost method which prices items on the
      basis of the average cost of all similar goods remaining in stock. Inventory is
      reported as a component of "Deferred charges and other noncurrent assets" on
      the Consolidated Statements of Net Assets.

   g. Operating revenues are derived principally from rentals, tolls, fares, aviation and
      port fees, and other charges for the use of, and privileges at Port Authority
      facilities, and amounts reimbursed for operating activities. Operating expenses
      include those costs incurred for the operation, maintenance and security of Port
      Authority facilities. All other revenues, including financial income, PFCs,
      contributions in aid of construction, grants, insurance proceeds and gains resulting
      from the disposition of assets, if any, are reported as non-operating revenues, and
      all other expenses, such.as interest expense, losses resulting from the disposition
      of assets, and pass-through grant program payment costs are reported as non-
      operating expenses.

   h. Amounts attributable to the collection and investment of PFCs are restricted and
      can only be used for Federal Aviation Administration (FAA)approved airport-
      related projects. Revenue derived from the collection of PFCs, net of the air
      carriers' handling charges, is recognized and accrued as non-operating revenue
      when the passenger activity occurs and the fees are due from the air carriers.
      PFC revenue applied to eligible capital projects is reflected as a component of
      "Facilities, net."



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      All Port Authority investment values that are affected by interest rate changes have
      been reported at their fair value, using published market prices. The Port Authority
      uses a variety of financial instruments to assist in the management of its financing
      and investment objectives, and may also employ hedging strategies to minimize
      interest rate risk and enters into various derivative instruments, including options
      on United States Treasury securities, repurchase and reverse repurchase (yield
      maintenance) agreements, United States Treasury and municipal bond futures
      contracts (see Note C)and swaps(see Note D).

   j. When issuing new debt for refunding purposes, the difference befinreen the
      acquisition price of the new debt and the net carrying amount of the refunded debt
      is deferred and amortized using the straight-line method as a component of
      interest expense over the remaining life of the old debt or the life of the new debt,
      whichever is shorter.

   k. The preparation of the consolidated financial statements in conformity with
      accounting principles generally accepted in the United States of America requires
      management, where necessary, to make estimates and assumptions that affect
      the amounts reported in the consolidated financial statements and accompanying
      notes. Such estimates and assumptions are subject to various uncertainties, the
      occurrence of which may cause differences between those estimates and
      assumptions and actual results.

   I. In June 2011, GASB issued Statement No. 63, Financial Reporting of Deferred
      Outflows of Resources, Deferred Inflows of Resources, and Net Position. GASB
      Statement No. 63 is effective for financial statements for periods beginning after
      December 15, 2011. The Port Authority has not completed the process of
      evaluating the impact that will result from adopting GASB Statement No. 63, and
      therefore, is unable to disclose the impact that adopting this statement will have on
      its financial position and results of operations.

4. Reconciliation of the Consolidated Financial Statements Prepared in
   Accordance with Accounting Principles Generally Accepted in the United States
   of America to Schedules Prepared Pursuant to Port Authority Bond Resolutions
       Schedules A, B and C, which follow the Required Supplementary Information
       section of this report, have been prepared in accordance with Port Authority bond
       resolutions which differ in some respects from accounting principles that are
       generally accepted in the United States of America, as follows:

   a. The revenues and expenses of facilities are accounted for in the operating fund.
      The financial resources expended for the construction or acquisition of major
      facilities or improvements are accounted for in the capital fund. Transactions
      involving the application of net revenues are accounted for in the reserve funds.



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b. Port Authority bond resolutions provide that net operating revenues shall not
   include an allowance for depreciation on facilities other than the depreciation of
   ancillary equipment. Thus, depreciation is not a significant factor in determining
   the net revenues and the reserves of the Port Authority or their application as
   provided in the Port Authority's bond resolutions. Instead, facility capital costs
   are provided for through deductions from net revenues and reserves of amounts
   equal to principal payments on debt or through direct investment in facilities.
   These amounts are credited at par to "Facility infrastructure investment" on
   Schedule B — Assets and Liabilities.

c. Debt service in connection with operating asset obligations is paid from the same
   revenues and in the same manner as operating expenses of the           Authority.
                                                                       Port




d. Capital costs for regional programs are included in "Invested in facilities" in
   accordance with    PortAuthority bond resolutions.

e. Consolidated bonds and notes are recorded as outstanding at their par value
   commencing on the date that the        Authority is contractually obligated to issue
                                       Port




   and sell such obligations. Discounts and premiums associated with bonds
   issued in connection with capital investment are capitalized at issuance and are
   included in "Invested in facilities."

f.   To reflect the cumulative amount invested by the Port Authority since 1921 in
     connection with its facilities, the cost of assets removed from service is not
     deducted from "Invested in facilities." However, in the event of the sale of assets
     removed from service or recovery of amounts related to assets destroyed or
     damaged, the amount of proceeds received from such sale or recovery is
     deducted from "Invested in facilities."

g. Contributed capital amounts resulting from non-monetary voluntary non-
   exchange transactions are included in "Invested in Facilities" and credited to
   "Facility Infrastructure Investment" at the capital assets fair value.
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A reconciliation of the Consolidated Statements of Net Assets to Schedule B and the
Consolidated Statements of Revenues, Expenses and Changes in Net Assets to
Schedule A follows:

Consolidated Statements of Net Assets to Schedule B — Assets and Liabilities

                                                                December 31,
                                                             2011           2010
                                                                (In thousands)
Net assets reported on Consolidated
Statements of Net Assets                                  $ 11,725,891 $ 11,024,623

Add: Accumulated depreciation of facilities                 10,673,443    9,906,100
     Accumulated retirements and gains
       and losses on disposal of invested in facilities      1,968,943    1,883,559
     Cumulative amortization of costs
       for regional programs                                 1,145,917    1,068,380
     Cumulative amortization of discount and premium            75,184       70,308
         Subtotal                                           13,863,487   12 928 347
                                                                            ,      ,




Less: Deferred income - 1 WTC LLC/WTC Retail LLC
        insurance proceeds                                     14,434        71,732
      Restricted Net Revenues - PAICE                           1,946         2,590
      Deferred income in connection with PFCs                  19,590        20,779
          Subtotal                                             35,970        95,101

           Total                                          $ 25,553,408 $ 23,857,869

Net assets reported on
Schedule B - Assets and Liabilities
(pursuant to Port Authority bond resolutions)             $ 25,553,408 $ 23,857,869




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Consolidated Statements of Revenues, Expenses and Changes in Net Assets
to Schedule A — Revenues and Reserves

                                                      Year ended December 31,
                                                         2011           2010
                                                            (In thousands)
Increase in net assets reported on
Consolidated Statements of Revenues,
Expenses and Changes in Net Assets                    $    701,268    $    346,841

Add: Depreciation of facilities                            852,727         789,011
     Application of 1 WTC LLC/WTC Retail LLC
       insurance proceeds                                    57,340         61,468
     Application of PFCs                                    215,645        207,122
     Amortization of costs for regional programs             77,537         76,504
     Amortization of discount and premium                     4,876          5,647
     Restricted Net Revenues PAICE
                                -
                                                                644               -




     Decrease in appropriations for self-insurance            1,949               -




          Subtotal                                        1,210,718       1,139,752

Less: Debt maturities and retirements                      140,390         178,095
      Debt retirement acceleration                           6,100                -




      Repayment of asset financing obligations              20,258          30,062
      Non-monetary capital contributions                   279,714                -




      Direct investment in facilities                      742,001        1,375,008
     PFCs                                                  214,456          210,387
      1 WTC LLC/WTC Retail LLC insurance proceeds                 -          42,814
      1 WTC LLC/WTC Retail LLC interest income                  43              136
      Restricted Net Revenues PAICE
                                -
                                                                  -             102
      PFC interest income/Fair Value Adjustment                   -               2
      Increase in appropriations for self-insurance               -           3,971
           Subtotal                                       1,402,962       1,840,577

            Total                                     $    509,024 $      (353,984)

Increase (decrease) in reserves reported on
Schedule A- Revenues and Reserves
(pursuant to Port Authority bond resolutions)         $    509,024 $      (353,984)
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Note B - Facilities, Net
    Facilities, net is comprised of the following:
                                                             Beginning      Additions /                                            End
                                                              of Year     (Dispositions)    Transfers         Retirements         of Year
                                                                                           (In thousands)


2011
   Capital assets not being depreciated:
       Land                                              $    1,108,399 $             - $    (48,239) $                 - $        1,060,160
       Construction in progress                               7,099 813       3 429,615   (2,057,621)                              8,471,807
   Total capital assets not being depreciated                 8 208 212       3,429,615   (2,105,860)                       -      9,531,967

   Other capital assets:
       Buildings, bridges, tunnels, other structures          7,958,041                        660,026             (1,217)         8,616,850
       Machinery and equipment                                6,814,568                       1,068,009           (71,384)         7,811,193
       Runways, roadways and other paving                     4,153,343                         118,725            (1,925)         4,270,143
       Utility infrastructure                                 3,329 336                         259 100           (10,858)         3,577,578
           Other capital assets                              22,255 288                -      2 105,860           (85,384)        24,275,764

   Less accumulated depreciation:
      Buildings, bridges, tunnels, other structures           3,257,439        210,328                             (1,217)         3,466,550
      Machinery and equipment                                 3,071,637        345,745                            (71,384)         3,345,998
      Runways, roadways and-other paving                      2,099,119        162,561                             (1,925)         2,259,755
      Utility infrastructure                                  1,477,905        134,093                            (10,858)         1,601,140


Facilities, net                                          $ 20,557,400 $       2,576,888 $                   - $             - $ 23,134,288

2010
   Capital assets not being depreciated:
       Land                                              $      928,515 $             - $    179,884 $                      - $    1,108,399
       Construction in progress                               5,910,282       2,948,055   (1,758 524)                              7,099,813
   Total capital assets not being depreciated                 6,838,797       2,948,055   (1,578 640)                       -      8,208,212

   Other capital assets:
       Buildings, bridges, tunnels, other structures          7,640,036                         343,562            (25,557)        7,958,041
       Machinery and equipment                                6,167,217                         729,315            (81,964)        6,814,568
       Runways, roadways and other paving                     3,972,380                         186,792             (5,829)        4,153,343
       Utility infrastructure                                 3,014,031                         318,971             (3,666)        3,329,336
           Other capital assets                              20 793 664                -      1,578,640           (117,016)       22,255,288

    Less accumulated depreciation:
         Buildings, bridges, tunnels, other structures       3,067,753          215,243                            (25,557)   3,257,439
         Machinery and equipment                             2,859,650          293,951                            (81,964)   3,071,637
         Runways, roadways and other paving                  1,948,768          156,180                             (5,829)   2,099,119
         Utility infrastructure                              1,357,934          123,637                             (3,666)   1,477,905
             Accumulated depreciation                        9,234,105          789,011               -           (117,016)   9,906,100
    Total other capital assets, net                         11,559,559         (789,011)      1,578,640                  -   12,349,188__
Facilities, net                                          $...18,398,356 $     2,159,044 $             - $                - $ 20,557,400

2. Net interest expense added to the cost of facilities was $217 million in 2011 and $184 million in 2010.

3. As of December 31, 2011, approximately $54.4 million in projects have been suspended pending determination
   of their continued viability.

4. During 2011, the impact on depreciation accelerated for runways, roadways and other paving totaled $3.2 million




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(continued}

Note C -Cash and Investments

1. The components of cash and investments are:
                                                                                       December 31,
                                                                                    2011            2010
                                                                                       (In thousands)
CASH

Cash on hand                                                                    $
                                                                                     2,331      $     1,197
Cash equivalents                                                                 3,328,271        2,533,638

   Total cash                                                                    3,330,602        2,534,835

Less restricted cash                                                                  33,237          83,785

Unrestricted cash                                                               $   3,297,365   $ 2,451,050


                                                                                        December 31,
                                                                                     2011            2010
                                                                                        (In thousands)
PORT AUTHORITY INVESTMENTS AT FAIR VALUE

                                                 Port Authority     PAICE           Total            Total

United States Treasury notes                      $   947,317.    $    80,457   $1,027,774          $843,783
United States Treasury bonds                                 -         32,624       32,624            33,793
United States Treasury bills                           26,290               -       26,290           250,696
United States government agency obligations                  -         42,100       42,100            40,083
Corporate Bonds     "
                                                      267,223               -
                                                                                   267,223           405,861
JFK International Air Terminal LLC obligations        129,274               -
                                                                                   129,274           139,288
Other governmental obligations                          7,084               -
                                                                                     7,084             7,833
Accrued interest receivable                             5,371           1,175        6,546             8,203


   Total investments                                1,382,559        156,356     1,538,915         1,729,540
Less current investments                               26,290               -       26,290           250,696
Noncurrent investments                            $ 1,356,269      $ 156,356    $1,512,625       $ 1,478,844



* Guaranteed by the Federal Deposit Insurance Corporation under the Temporary Liquidity Guarantee Program,
  rated Aaa by Moody's Investors Service and AA+ by Standard & Poors.




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Notes to the Consolidated Financial S#atements
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2. Port Authority policy provides for funds of the Port Authority to be deposited in banks
with offices located in the Port District, provided that the total funds on deposit in any
bank do not exceed 50% of the bank's combined capital and permanent surplus. These
funds must be fully secured by deposit of collateral having a minimum market value of
110% of average daily balances in excess of that part of the deposits secured through the
Federal Deposit Insurance Corporation (FDIC). Actual daily balances may differ from the
average daily balances. The collateral must consist of obligations of the United States of
America, the Port Authority, the State of New York or the State of New Jersey held in
custodial bank accounts in banks in the Port District having combined capital and surplus
in excess of $1 million.

Total actual bank balances excluding amounts held by third party trustees were $2.7
billion as of December 31, 2011. Of that amount, $341 million was secured through the
basic FDIC deposit insurance coverage for interest bearing accounts or was secured
through the FDIC unlimited deposit insurance coverage for "noninterest bearing
transaction accounts." The balance of $2.4 billion was fully collateralized with collateral
held by a third party custodian acting as the Port Authority's agent and held by such
custodian in the Port Authority's name. In addition, approximately $14 million related to
restricted insurance proceeds for WTC Retail LLC is being held by a third party escrow
agent and, with the exception of current cash on hand to meet expenditures, is invested in
United States Treasury securities.

3. The investment policies of the Port Authority are established in conformity with its
agreements with the holders of its obligations, generally through resolutions of the Board
of Commissioners or its Committee on Finance. For the Port Authority, but not
necessarily its related entities, individual investment transactions are executed with
recognized and established securities dealers and commercial banks. Investment
securities are maintained, in the Port Authority's name, by a third party financial institution
acting as the Port Authority's agent. Securities transactions are conducted in the open
market at competitive prices. Transactions (including repurchase and reverse repurchase
agreement transactions) are completed when the Port Authority's securities custodian, in
the Port Authority's name, makes or receives payment upon receipt of confirmation that
the securities have been transferred at the Federal Reserve Bank of New York or other
repository in accordance with the Port Authority's instructions.

Proceeds of"Bonds and other asset financing obligations" may be invested, on an interim
basis, in conformance with applicable Federal laws and regulations, in obligations of(or
fully guaranteed by) the United States of America (including such securities held pursuant
to repurchase agreements) and collateralized time deposit accounts. Consolidated Bond
Reserve Fund and General Reserve Fund amounts may be invested in obligations of(or
fully guaranteed by) the United States of America. Additionally, amounts in the
Consolidated Bond Reserve Fund and the General Reserve Fund (subject to certain
limitations) may be invested in obligations of the State of New York or the State of New
Jersey, collateralized time accounts, and Port Authority bonds actually issued and
secured by a pledge of the General Reserve Fund. Operating funds may be invested in
various items including  (a)direct obligations of the United States of America, obligations

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Notes to the Consolidated Financial S#atements
continued

of United States government agencies, and sponsored enterprises that have the highest
short-term ratings by finro nationally recognized firms;(b) investment grade negotiable
certificates of deposit and negotiable Bankers' Acceptances with banks having AA or
better long-term debt rating, premier status and with issues actively traded in secondary
markets;(c) commercial paper having only the highest short-term ratings separately
issued by finro nationally recognized rating agencies;(d) United States Treasury and
municipal bond futures contracts;(e)certain interest rate exchange contracts with banks
and investment firms; (fl certain interest rate options contracts that are limited to $50
million of underlying securities with a maturity of no greater than five years with primary
dealers in United States Treasury securities; and (g) certain unrated obligations of.
JFKIAT LLC (presently comprising approximately 9.4% of total Port Authority
investments at December 31, 2011)for certain costs attributable to the completion of
Terminal 4(JFKIAT). The Board has from time to time authorized other investments of
operating funds.

It is the general policy of the Port Authority to limit exposure to declines in fair market values
by limiting the weighted average maturity of the investment portfolio to less than two years.
Extending the weighted average maturity beyond finro years requires explicit written
approval of the Chief Financial Officer. Committee on Finance authorization is required to
extend the weighted average maturity beyond five years.

The following is the fair value and weighted average maturity of investments held by the
PortAuthority, excluding PAICE, at December 31, 2011:

                                                                   Fair Value   Weighted Average
  PA Investment Type                                          (In thousands)     Maturity (In days)

United States Treasury notes                                      $   947,317           677
United States Treasury bills                                           26,290            71
Corporate Bonds                                                       267,223           169
JFK International Air Terminal LLC obligations                        129,274         4,980
Other governmental obligations                                          7.084           959
Total fair value of investments*                                  $ 1,377,188

Investments weighted average maturity                                                   972
* Excludes accrued interest receivable amounts of $5.4 million.

The   PortAuthority has, from time to time, entered into reverse repurchase (yield
maintenance) agreements under which the Port Authority contracted to sell a specified
United States Treasury security to a counterparty and simultaneously agreed to purchase
it back from that party at a predetermined price and future date. All reverse repurchase
agreements sold are matched to repurchase agreements bought, thereby minimizing
market risk. The credit risk is managed by a daily evaluation of the market value of the
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Notes to the Consolidated Financial Statements
continued

underlying securities and periodic cash adjustments, as necessary, in accordance with
the terms of the repurchase agreements. There were no investments in reverse
repurchase agreements at December 31, 2011.

4. The investment policies of PAICE have been established and approved by the PAICE
Board of Directors, which is comprised of Port Authority executive staff. Consistent with the
Port Authority Board of Commissioners' authorization with respect to the establishment of
PAICE as a wholly owned entity of the Port Authority, PAICE provides the Port Authority
Board of Commissioners' Committee on Finance with periodic updates on PAICE's
investment activities.

Under PAICE's investment policies, eligible investments include money market demand
accounts of commercial banks, not to exceed bank deposit insurance limits, and/or
taxable ortax-exempt money market mutual funds that offer daily purchase and
redemption while maintaining a constant share price and whose fund assets are primarily
United States Treasury notes and bonds and whose assets are more than $1 billion.
Other investments include: United States Treasury securities and United States
government agency obligations, AAA rated tax-exempt general obligation issues of
states, and U.S. dollar denominated corporate debt rated AA or above.

The following is the fair value and weighted average maturity of investments held by
PAICE at December 31, 2011:

                                                                  Fair Value ~Neighted Average
  PAICE Investment Type                                       (In thousands)   Maturity (In days)

United States Treasury notes                                      $ 80,457           632
United States Treasury bonds                                        32,624           182
United States government agency obligations                         42,100           330

Total fair value of investments*                                    155 181
Investments weighted average maturity                                                456
* Excludes accrued interest receivable amounts of $1.2 million.




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Notes to the Consolidated Financial Statements
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Note D - Outstanding Obligations and Financing

Obligations noted with(*) throughout Note D-1 and D-2 are subject to the alternative
minimum tax imposed under the Internal Revenue Code of 1986, as amended, with
respect to individuals and corporations. Obligations noted with(**) are subject to
federal taxation.

D-1. Outstanding bonds and other asset financing obligations

                                                       December 31, 2011
                                               Current  Noncurrent     Total
                                                            (In thousands)


A.   Consolidated Bonds and Notes             $ 205,410     $15,364,335 $15,569,745
B.   Commercial Paper Notes                     396,155               -     396,155
C.   Variable Rate Master Notes                  77,900               -      77,900
D.   Versatile Structure Obligations
E.   Port Authority Equipment Notes                68,160                    68,160
                                                                             -




F.   Fund Buy-Out Obligation                       51,213       308,646     359,859
G.   MOTBY Obligation                              27,081        78,060     105,141
H.   Tower4 Liberty Bonds                               -     1;249,921   1,249,921
                                              $ 825,919     $17,000,962 $17,826,881


                                                     December 31, 2010
                                               Current   Noncurrent    Total
                                                            (In thousands)


A.   Consolidated Bonds and Notes              $190,390     $13,119,246 $13,309,636
B.   Commercial Paper Notes                     354,280                     354,280
                                                                             -




C.   Variable Rate Master Notes                  77,900                      77,900
                                                                             -




D.   Versatile Structure Obligations            175,200                     175,200
                                                                             -




E.   Port Authority Equipment Notes              98,645                      98,645
                                                                             -




F.   Fund Buy-Out Obligation                     43,211         330,496     373,707
G.   MOTBY Obligation                            33,254         105,142     138,396
                                               $972,880     $13,554,884 $14,527,764




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Notes to Consolidated Financial Statements
(continued}
Note D - Outstanding Obligations and Financing (continued)

A. Consolidated Bonds and Notes
                                                                                         Dec. 31,     Issued/        Refunded/              Dec. 31,
                                                                                            2010     Accreted           Retired                2011
                                                                                                                (In thousands)        '
Consolidated bonds and notes
Sixty-ninth series                       Due 2011                               $         3,881 $         119 $          4,000 $
Seventy-fourth series (a)                Due 2012-2014                                   15,507           497            4,155                11,849
Eighty-fifth series                      5.2%-5.375% due 2012-2028                       90,000              -           3,000                87,000
Eighty-si~Rh series                      5.2%due 2012                                     8,005              -           4,150                 3,855
Ninety-third series                      6.125% due 2094                                100,000              -               -              100,000
One hundred third series                 5.25% due 2012-2014                             26,135              -           6,240                19,895
One hundred thirteenth series            4.75% due 2012-2013                             15,750              -           5,250                10,500
One hundred sixteenth series             4.25%-5.25% due 2012-2033                      402,645              -          10,495              392,150
One hundred seventeenth series'          4.75%-5.125% due 2012-2018                      50,110              -          50,110                     -
One hundred twenty-second series'        S%-5.5%due 2012-2036                           165,030              -         165,030                     -
One hundred twenty-fourth series*        4.75%-5%due 2012-2036                          214,145              -          11,685              202,460
One hundred twenty-fifth series          5%due 2018-2032                                300,000              -               -              300,000
One hundred twenty-sixth series*         5%-5.5%due 2012-2037                           211,480              -          13,065              198,415
One hundred twenty-seventh series"       5%-5.5%due 2012-2037                           230,470              -          10,165              220,305
One hundred twenty-eighth series         4.75%-5%due 2012-2032                          236,210              -           3,935              232,275
One hundred twenty-ninth series          3.5%-4%due 2012-2015                            35,790              -           6,075                29,715
One hundred thirtieth series             3.5%-3.75%due 2012-2015                         38,230              -           7,145                31,085
One hundred thirty-first series'         4.625%-5%due 2012-2033                         441,100              -           9,205              431,895
One hundred thirty-second series         5%due 2024-2038                                300,000              -               -              300,000
One hundred thirty-third series          3.25%-4.4%due 2012-2021                        167,680              -          15,500              152,180
One hundred thirty-fourth series         4%-5%due 2012-2039                             244,500              -           2,970              241,530
One hundred thirty-fifth series          4.5%-5%due 2024-2039                           400,000              -               -              400,000
One hundred thirty-sixth series'         5%-5.5%due 2012-2034                           342,290              -           2,570              339,720
One hundred thirty-seventh series'       4%-5.5%due 2012-2034                           230,585              -           3,935              226,650
One hundred thirty-eighth series'        4.25%-5% due 2012-2034                         334,750              -           7,310              327,440
One hundred thirty-ninth series'         4%-5%due 2012-2025                             161,105              -           8,570               152,535
One hundred fortieth series              4.125%-5%due 2016-2035                         400,000              -               -              400,000
One hundred forty-first series'          4.5%-5% due 2016-2035                          350,000              -               -              350,000
One hundred forty-second series          4%-5% due 2015-2036                            350,000              -               -              350,000
One hundred forty-third series'          S% due 2016-2036                               500,000              -               -              500,000
One hundred forty-fourth series          4.25%-5%due 2026-2035                          300,000              -               -              300,000
One hundred forty-fifth series*'         5.75% due 2027-2032                            250,000              -               -              250,000
One hundred forty-sixth series'          4.25%-5%due 2016-2036                          500,000              -               -              500,000
One hundred forty-seventh series*        4.75%-5%due 2017-2037                          450,000              -               -              450,000
One hundred forty-eighth series          5%due 2015-2037                                500,000              -               -              500,000
One hundred forty-ninth series           4%-5% due 2017-2037                            400,000              -               -              400,000
One hundred fiftieth series*`            4.125%-6.4% due 2013-2027                      350,000              -               -              350,000
One hundred fifty-first series*          5.25%-6%due 2019-2035                          350,000              -               -              350,000
One hundred fifty-second series'         4.75%-5.75% due 2018-2038                      400,000              -               -              400,000
One hundred fifty-third series           4%-5% due 2018-2038                            500,000              -               -              500,000
One hundred fifty-fourth series          3%-5% due 2012-2029                             96,190              -           3,855                92,335
One hundred fifty-fifth series           1.75%-3.5%due 2012-2019                         73,700              -          12,000                61,700
One hundred fifty-sixth series           4%-5%due 2025-2039                             100,000              -               -               100,000
One hundred fifty-seventh series*'       5.309% due 2019                                150,000              -               -               150,000
One hundred fifty-eighth series*'        5.859% due 2024                                250,000              -               -               250,000
One hundred fifty-ninth series*"         6.04% due 2029                                 350,000              -                -              350,000
One hundred sixtieth series              4%-5% due 2030-2039                            300,000              -                -              300,000
One hundred sixty-first series           4.25%-5%due 2030-2039                          300,000              -                -              300,000
One hundred sixty-second series          1.25%-3.3%due 2012-2020                        105,090              -          18,020                87,070
One hundred sixty-third series           2.5%-5% due 2017-2040                          400,000              -                -             400,000
One hundred sixty-fourth series"         5.647% due 2040                                425,000              -                -             425,000
One hundred sixty-fifth series'*         5.647% due 2040                                425,000              -                -             425,000
One hundred sixty-sixth series           5%-5.25% due 2030-2041                                -       300,000                -              300,000
One hundred sixty-seventh series`        3%-5.50% due 2012-2028                                -      225,000                 -              225,000
One hundred sixty-eighth series"         4.926% due 2051                                       -     1,000,000                -            1,000,000
One hundred sixty-ninth series'          3%-5%due 2012-2041                                    -      400,000                 -             400,000
One hundred seventieth series (b)        5%-5.25% due 2041 & 2043                              -      672,480                 -             672,480


Consolidated bonds and notes pursuant to Port Authority bond resolutions              13,340,378 $   2,598,096 $       388,435            15,550,039
Less unamortized discount and (premium)(c)                                                30,742                                             (19,706)

Consolidated bonds and notes (d)                                                $     13,309,636                                  $       15,569,745




NOTE: See page 36 for explanations of footnotes(a-d)concerning Consolidated Bonds and Notes.                                                     35
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Notes to the Consolidated Financial Statements
continued

Note D - Outstanding Obligations and Financing (continued)

A. Consolidated Bonds and Notes (continued from previous page)
(a) Includes $2,908,000 serial bonds issued on a capital appreciation basis; the only payments with respect to
    these bonds will be made at their respective maturities, ranging from years 2012 to 2014, in the total
    maturity amount of $12,465,000.
(b) The entire series was acquired by the New York Liberty Development Corporation in connection with
    its issuance of the New York Liberty Development Corporation Liberty Revenue Bonds, Series
    1 WTC-2011 (Secured by Port Authority Conso►idated Bonds).
(c) Amount includes the unamortized difference between acquisition price and carrying amount on
    refunded debt.
(d) Debt service requirements to maturity for Consolidated Bonds outstanding on December 31, 2011 are as
    follows:


Year ending                                                                                      Debt
December 31:                                 Principal                     Interest             Service
                                                              (In thousands)

2012                                     $ 205,410                    $   773,856          $   979,266
2013                                         227,090                      765,524              992,614
2014                                         248,530                      755,834            1,004, 364
2015                                         262,945                      744,102            1,007,047
2016                                         290,355                      731,688            1,022,043
2017-2021                                  1,976,940                    3,400,922            5,377,862
2022-2026                                  2,560,490                    2,845,875            5,406,365
2027-2031                                  3,384,600                    2,116,799            5,501,399
2032-2036                                  3,192,595                    1,235,073            4,427,668
2037-2041                                  1,729,220                      592,068            2,321,288
2042-2046                                    372,480                      305,455              677,935
2047-2051                                  1,000,000                      166,090            1,~ 66,090
2052-2094***                                 100,000                      234,996              334,996
                                         $15,550,655                  $14,668,282          $30,218,937

    '`**Debt service for the years 2052-2094 reflects principal and interest payments associated with
    Consolidated Bonds Ninety-third Series.

     Total principal of $15,550,655,000 shown above differs from the total consolidated bonds pursuant to
     Port Authority bond resolutions of $15,550,039,000 because of differences in the par value at maturity
     of the capital appreciation bonds Seventy-fourth Series of $616,000.

As of December 31, 2011, the Board of Commissioners had authorized the issuance of
Consolidated Bonds, One Hundred Sixty-second Series through One Hundred Seventy-
sixth Series, in the aggregate principal amount of up to $500 million of each series, and
Consolidated Notes, Series ZZ, AAA, BBB, CCC and DDD, of up to $300 million in
aggregate principal amount of each series. To the extent any of Consolidated Bonds,

                                                                                                           36
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Notes to the Consolidated Financial Statement
continued

Note D - Outstanding Obligations and Financing (continued)

One Hundred Sixty-eighth Series through Consolidated Bonds, One Hundred Seventy-
sixth Series are issued and sold solely for purposes of capital expenditures in connection
with One World Trade Center, the retail components of the WTC site and other WTC site-
wide infrastructure, such series may be issued and sold without limit as to principal
amounts and term to maturity, provided that the total aggregate principal amount of all of
such series (regardless of the purpose for issuance) shall not be in excess of $4.5 billion.

During 2011, the Port Authority used the proceeds of consolidated bonds to refund $198
million of consolidated bonds, $169.1 million of versatile structure obligations and
$118.4 million of commercial paper notes. The economic gain resulting from the debt
refunding (the difference between the present value of the cash flows required to
service the old debt and the present value of the cash flows required to service the new
debt) totaled approximately $25.8 million in present value savings to the Port Authority.

Consolidated bonds outstanding as of February 24, 2012(pursuant to            Authority
                                                                            Port




bond resolutions) totaled $15,950,039,000.

B. Commercial Paper Notes

Commercial paper obligations are issued to provide interim financing for authorized
projects at Port Authority facilities and may be outstanding until December 31, 2015.
The maximum aggregate principal amount that may be outstanding at any one time is
$300 million for Series A and $200 million for Series B. Commercial paper obligations
are issued without third party provider support for payment at their maturity dates.

                                Dec. 31,                        Refunded/     Dec. 31,
                                  2010              Issued         Repaid       2011
                                                    (In thousands)

Series A*                      $208,815          $563,740        $564,820    $207,735
Series B                        145,465           412,960         370,005     188,420
                               $354,280          $976,700        $934,825    $396,155

Interest rates for all commercial paper notes ranged from 0.11% to 0.36% in 2011.

As of February 24, 2012, commercial paper notes outstanding totaled $390,135,000.




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Nates to the Consolidated Financial Statements
continued

Note D - Outstanding Obligations and Financing (continued)

C. Variable Rate Master Notes

Variable rate master notes may be issued in aggregate principal amounts outstanding at
any one time not to exceed $400 million.
                                     Dec. 31,                    Refunded/       Dec. 31,
                                       2010         Issued          Repaid         2011
                                                       (In thousands)

Agreements 1989 -1995*               $44,900         $       -      $        -   $44,900
Agreements 1989 -1998                 33,000                 -               -    33,000
                                     $77,900         $       -      $        -   $77,900

Interest rates are determined weekly, based upon a spread added to a specific industry
index (the Securities Industry and Financial Markets Association rate) as stated in each
master note agreement, and ranged from 0.12% to 0.42% in 2011.

Debt service requirements on outstanding variable rate master notes, valued for
presentation purposes at the rate in effect on December 31, 2011, would be as follows:

 Year ending                                                                        Debt
 December 31:                                 Principal           Interest       Service
                                                             (In thousands)

2012                                            $     -           $ 131          $   131
2013                                                  -              130             130
2014                                                  -              130             130
2015                                                  -              130             130
2016                                                  -              131             1.31
2017-2021                                        25,000              628          25,628
2022-2025                                        52,900              140          53,040
                                                $77,900           $1,420         $79,320

Variable rate master notes are subject to prepayment at the option of the Port Authority
or upon demand of the holders.




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Notes to the Consolidated Financial Statements
continued

Note D - Outstanding Obligations and Financing (continued)

D. Versatile Structure Obligations

                                  Dec. 31,                    Refunded/      Dec. 31,
                                     2010        Issued          Repaid         2011
                                                  (In thousands)

Series 1 R*                     $ 92,800         $      -      $ 92,800       $    -
Series 4*                         82,400                -        82,400            -
                                $175,200         $      -      $175,200       ~    -

Variable interest rates, set daily by the remarketing agent for Versatile Structure
Obligations Series 1 R and 4, ranged from 0.14% to 0.50% in 2011. Versatile Structure
Obligations Series 1 R and.4 were refunded in their entirety on April 29, 2011 through a
combination of Consolidated Bond proceeds and net revenues deposited into the
Consolidated Bond Reserve Fund.

The Port Authority had entered into a separate standby certificate purchase agreement
for Versatile Structure Obligations with certain banks, which terminated orb April 29,
2011. Bank commitment fees during 2011 in connection with these agreements were
approximately $136,000.

E. Port Authority Equipment Notes

Equipment notes may be issued in aggregate principal amounts outstanding at any one
time not to exceed $250 million.

                                  Dec. 31,                     Refunded/     Dec. 31,
                                    2010           Issued         Repaid        2011
                                                       (In thousands)

Notes 2004, 2006, 2008*            $ 4,380       $        -        $ 1,745   $ 2,635
Notes 2004, 2006, 2008              94,265                -         28,740    65,525
                                   $98,645       $        -        $30,485   $68,160

Variable interest rates, set weekly by a remarketing agent for each series, ranged from
0.13% to 0.48% in 2011.

Annual debt service requirements on outstanding Port Authority equipment notes,
valued for presentation purposes at the rate in effect on December 31, 2011, would be
as follows:




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Notes to the Consolidated Financial Statements
continued

Note D - Outstanding Obligations and Financing (continued

 Year ending December 31:                         Principal             Interest     Debt Service
                                                                 (In thousands)

 2012                                              $1.8,595             $  107             $18,702
 2013                                                2,640                  80               2,720
 2014                                               15,425                  56              15,481
 2015                                               31,500                  10              31,510
                                                   $68,160               $ 253             $68,413

The Port Authority has entered into agreements with the purchasers of the notes stating
that on seven days notice on any business day during the term of the agreements, the
Port Authority may prepay in whole, or, from time to time, in part, without penalty or
premium, the outstanding principal amount of the notes. Also, the purchasers can
tender the notes back to the remarketing agent on seven days notice, in whole and not
in part. In the event that the remarketing agent cannot resell the notes, notice shall be
given by the remarketing agent to the Port Authority requesting the Port Authority to pay
the purchase price of the notes.



                                   Dec. 31,                         Refunded/             Dec. 31,
                                     2010 Accretion (a)               Repaid                2011
                                                       (In thousands)

Obligation outstanding            $373,707          $29,363             $43,211         $359,859

(a) Represents the annual implicit interest cost(8.25%)contained in the present value of amounts due to
    the States of New York and New Jersey upon the termination, in 1990, of the Fund for Regional
    Development.

Payment requirements of the fund buy-out obligation outstanding, including the implicit
interest cost, on December 31, 2011 are as follows:

Year ending December 31:                                                            Payments
                                                                                   (In thousands)

2012                                                                                  $ 51,213
2013                                                                                    51,212
2014                                                                                    51,214
2015                                                                                    51,212
2016                                                                                    51,212
2017-2021                                                                              266,452
                                                                                      $522,515

As of February 24, 2012, the fund buy-out obligation outstanding totaled $364,336,543.

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Note D - Outstanding Obligations and Financing (continued)




On August 3, 2010, the Port Authority acquired approximately 131 acres of the former
MOTBY from the Bayonne Local Redevelopment Authority (BLRA)for $235 million.
The acquired properly is comprised of three parcels on the southern side of the
peninsula and has been incorporated into the          Jersey —Port Authority Marine
                                                     Port




Terminal for future marine terminal purposes. The $235 million total purchase price is
payable to the BLRA in twenty-four annual installment payments (2010-2033).
Accordingly, the total purchase price of $235 million was discounted to a present value
of $178.4 million at an implicit interest rate of 5.25% and recognized as an asset
financing obligation in 2010.

                                   Dec. 31,                        Refunded/          Dec. 31,
                                     2010 Accretion (a)              Repaid             2011
                                                      (In thousands)

Obligation outstanding             $138,396         $1,745             $35,000       $105,141

(a) Represents the annual implicit interest cost(5.25%)contained in the present value of amounts due
    the BLRA.

Payment requirements for the MOTBY obligation outstanding, including the implicit
interest cost, on December 31, 2011 are as follows:

Year ending December 31:                                                          Payments
                                                                                 (In thousands)

2012                                                                                $ 30,000
2013                                                                                  30,000
2014                                                                                   5,000
2015                                                                                   5,000
2016                                                                                   5,000
2017-2021                                                                             25,000
2022-2026                                                                             25,000
2027-2031                                                                             25,000
2032-2033                                                                             10,000
                                                                                    $160,000




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Notes to the Consolidated Financial Statements
 continued

Note D - Outstanding Obligations and Financing (continued)

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In connection with the issuance of the Tower 4 Liberty Bonds by the New York Liberty
Development Corporation on November 15, 2011, the Port Authority entered into a
Tower 4 Bond Payment Agreement with Tower 4 Trustee to make, as a co-borrower/
obligor with respect to the New York Liberty Development Corporation, Liberty Revenue
Bonds, Series 2011 (4 World Trade Center Project), debt service payments of principal
and interest under the bonds as a special obligation of the Port Authority to the trustee
during the term of the agreement, from May 11, 2012 through November 15, 2051.

                                       Dec. 31,                        Repaid/            Dec. 31,
                                          2010         Issued        Amortized               2011
                                                                (In thousands)

Series 2011                            $         -   $1,225,520        $       -      $1,225,520
Add: unamortized premium                         -       24,479               78          24,401
 Total Tower 4 Liberty Bonds           $         -   $1,249,999        $      78      $1,249,921

Annual debt service payment requirements on outstanding Tower 4 Liberty Bonds on
December 31, 2011, would be as follows:

 Year ending December 31:                        Principal        Interest(a)      Debt Service
                                                                (In thousands)

 2012                                        $         -         $    65,293          $   65,293
 2013                                                  -              65,293              65,293
 2014                                                  -              65,293              65,293
 2015                                                  -              65,293              65,293
 2016                                                  -              65,293              65,293
 2017-2021                                             -             326,467             326,467
 2022-2026                                             -             326,467             326,467
 2027-2031                                       140,180             313,132             453,312
 2032-2036                                       179,025             274,287             453,312
 2037-2041                                       228,840             224,472             453,312
 2042-2046                                       292,955             160,354             453,309
 2047-2051                                       384,520              68,799             453,319
                                              $1,225,520          $2,020,443          $3,245,963

(a) Excludes estimated fixed rent payments of $576.6 million by the City of New York directly payable
    to the Tower 4 Liberty Bond trustee pursuant to the City of New York's Tower 4 space lease.




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Notes to the Consolidated Financial Statements
continued

Note D - Outstanding Obligations and Financing (continued)

D-2. Amounts Payable - Special Project Bonds

Neither the full faith and credit of the Port Authority, nor the General Reserve Fund, nor
the Consolidated Bond Reserve Fund are pledged to the payment of the principal and
interest on special project bonds. Principal and interest on each series of special
project bonds are secured solely by a mortgage by the Port Authority of facility rental (to
the extent received by the Port Authority from a lessee) as set forth in a lease with
respect to a project to be financed with the proceeds of the bonds of such series, by a
mortgage by the lessee of its leasehold interest under the lease and by a security
interest granted by the lessee to the Port Authority and mortgaged by the Port Authority
in certain items of the lessee's personal property to be located at the project, and such
other security in addition to the foregoing as may be required by the Port Authority from
time to time as appropriate to the particular project.

                                                   Dec. 31,                      Repaid/             Dec. 31,
                                                      2010       Issued       Amortized                 2011
                                                                    (In thousands)
Series 2, Continental Airlines, Inc. and
Eastern Air Lines, Inc. Project (a)*
       9.125% due 2012-2015                      $   94,775      $      -         $15,795         $   78,980
Less: unamortized discount and premium                2;392             -             486              1;906
       Total - Series 2                              92,383             -          15,309             77,074


Series 4, KIAC Partners Project (b)*
      6.75% due 2012-2019                           150,500             -           13,500           137,000
Less' unamortized discount and premium                1,675             -              191             1,484
       Total - Series 4                             148,825             -           13,309           135,516

Series 6, JFKIAT Project(c)*
       5.75%-7% due 2012-2025                       761,590             -           32,410           729,180
Less:  unamortized  discount and premium              5,006             -              336             4,670
       Total - Series 6                             756,584             -           32,074           724,510


Series 8, JFKIAT Project(d)
       5%-6.5%due 2018-2042                         796,280             -                -           796,280
Less: unamortized discount and premium               13,259             -              415            12,844
       Total - Series 8                             783,021             -             (415)          783,436

Amounts payable - Special Project Bonds          $1,780,813      $      -         $60,277         $1,720,536


(a) Special project bonds, Series 2, Continental Airlines, Inc. and Eastern Air Lines, Inc. Project, were
    issued in connection with a project that included the construction of a passenger terminal at LGA
    leased to and to be occupied by Continental and Eastern. The leasehold interest of Eastern was



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No#es to the Consolidated Financial Statements
continued

Note D - Outstanding Obligations and Financing (continued)

    assigned to Continental. Continental's leasehold interest in such passenger terminal, including the
    previously acquired leasehold interest of Eastern, was subsequently assigned to USAir, Inc. (with
    Continental to remain liable under both underlying leases).

(b) Special project bonds, Series 4, KIAC Partners Project, were issued to refund Special project bonds,
    Series 3, KIAC Partners Project, and in connection with a project at JFK, that included the
    construction of a cogeneration facility, the renovation and expansion of the central heating and
    refrigeration plant, and the renovation and expansion of the thermal distribution system.

(c) Special project bonds, Series 6, JFKIAT Project, were issued in connection with a project that
    included the development and construction of a new passenger terminal at JFK.

(d) Special project bonds, Series 8, JFKIAT Project, were issued in December 2010 in connection with a
    project that included the expansion of Terminal 4 at JFK.

D-3. Interest Rate Exchange Contracts(Swaps)

The   PortAuthority records interest rate exchange contract payments pursuant to the
settlement method of accounting whereby cash paid or received under the terms of the
swap is charged or credited to the related interest expense account for the purpose of
managing interest rate exposure. Each swap transaction involves the exchange of fixed
and variable rate interest payment obligations with respect to an agreed upon nominal
principal amount called a "notional amount."

Objective

The Port Authority's financial management program provides for the Port Authority to
enter into interest rate swaps for the purpose of managing and controlling interest rate
risk in connection with Port Authority obligations designated at the time of entering into
interest rate swap transactions. The notional amounts of the swaps are designed to
match the principal amount of the associated debt. The Port Authority's swap
agreements contain scheduled reductions to outstanding notional amounts to
approximately follow scheduled reductions of the associated debt.

As of December 31, 2011, the Port Authority had three pay-fixed, receive variable rate
interest rate swaps. Two of these swaps were entered into in anticipation of the
issuance of future variable interest rate versatile structure obligations in July and August
2008, respectively; however, due to unfavorable market conditions, these obligations
were not issued, and the swaps remain unhedged. The third remaining swap became
unhedged when the corresponding variable rate obligation was refunded in 2008
(Versatile Structure Obligations, Series 8). To mitigate the impacts of unfavorable
market conditions, in the second quarter of 2009, the Port Authority amended the three
unhedged swap agreements to defer periodic interest rate exchange contract payments
until the last quarter of 2010. Periodic interest rate exchange contract payments
resumed on these three unhedged swaps in October and November 2010, respectively.
Periodic interest rate payments associated with the three unhedged swaps totaled
$27.5 million in 2011.
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 Notes to the Cnnsoiidated Financial Statements
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 Note D - Outstanding Obligations and Financing (continued)

 The terms, including the fair values and credit ratings of the outstanding swaps as of
 December 31, 2011, are as follows:
                                                                                                                Ratings of
                              Original      Current       Fixed    Variable                         Swap           the
Associated      Notional     Execution     Effective      Rate       Rate                        Termination   Counterparty
   Debt         Amount          Date         Date          Paid    Received       Fair Value        Date           (a)
                                                                    70% of
                                                                  three-month                                     BBB+/
 Unhedged     $224,000,000    6/15/2006   10/1/2010(b)   4.510%    LIBOR(c)     $ (78,469,798)    10/1/2035      Baal/A+
                                                                    70% of
                                                                  three-month
 Unhedged      187,100,000    6/15/2006   10/1/2010(b)   4.450%    LIBOR(c)       (67,829,026)    7/1/2036     AA-/Aa3/A+
                                                                  70% of one-
                                                                    month
 Unhedged      236.100,000    6/15/2006   11/1/2010(d)   4.408%    LIBOR(c)       (95,578,342)    8/1/2038     AA-/Aa1/AA

  Total       $647.200 000                                                      $!241.877.1661

 (a)   Ratings supplied by Standard Poor's/Moody's Investors Service/Fitch Ratings, respectively
                                     &




 (b)   Swap agreement amended April 2, 2009
 (c)   London Interbank Offered Rate Index
 (d)   Swap agreement amended May 22, 2009

 Fair Value

 Interest rates have generally declined since the execution date of the swaps. As a
 result, all three swaps had a negative fair value totaling $242 million as of December 31,
 2011. In accordance with GASB Statement No. 53, Accounting and Financial Reporting
 for Derivatives, changes in the fair value of investment derivative instruments
 (unhedged) have been recognized as a change to investment income on the
 Consolidated Statements of Revenues, Expenses and Changes in Net Assets. The fair
 value of the three outstanding investment derivatives (unhedged) decreased $94 million
 from December 31, 2010 to December 31, 2011.

 Credit Risk

 As of December 31, 2011, the Port Authority was not exposed to credit risk on any of its
 outstanding swaps because the swaps had negative fair values. Should interest rates
 change and the fair values of the swaps become positive, the Port Authority would be
 exposed to credit risk in the amount of the swaps'fair value. However, the Port
 Authority has limited protection from credit risk of the counterparties since the
 outstanding swap agreements require collateral to be posted for the swaps under
 certain conditions. If the outstanding ratings of the Port Authority or the counterparty (or
 its credit support provider) fall to a certain level, then the party whose rating is affected
 is required to post collateral with a third party custodian to secure termination payments
 above threshold amounts. Collateralization of the fair value of the swaps, above certain
 threshold amounts, is required should the Port Authority's highest credit rating fall below
 Baal, as issued by Moody's Investors Service, or BBB+, as issued by Standard &
 Poor's and Fitch Ratings. Collateralization of the fair value of the swaps, above certain

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Note D - Outstanding Obligations and Financing (continued

threshold amounts, is required should the counterparty's, or its credit support provider's,
highest credit rating fall below A1, as issued by Moody's Investors Service, or A+, as
issued by Standard & Poor's and Fitch Ratings. Collateral on all swaps shall consist of
direct obligations of, or obligations the principal and interest of which are guaranteed by,
the United States of America (including cash). All of the swap agreements. provide that
an early termination date may be designated if an event of default occurs. The three
swap transactions currently outstanding are held by three different counterparties.

Basis Risk

The Port Authority would be exposed to basis risk if the variable rate received under the
swap varied from the variable payments for the associated floating rate debt obligations.
Since the swaps are not associated with any debt obligations, the Port Authority is
currently not exposed to basis risk.

Termination Risk

The Port Authority or the counterparty may terminate any of the swaps if the other party
fails to perform under the terms of the agreement. Additionally, the Port Authority has
the option to terminate, cancel or cash settle any of the three swaps, in whole or in part,
at its discretion. As part of the 2009 amendments to the unhedged swap agreements
previously described, two of the swap counterparties were granted the option to early
terminate, cancel or cash settle their respective swaps, in whole or in part, beginning in
2012, at their discretion. However, if at the time of termination the swap has a negative
fair value, the Port Authority would be liable to the counterparty for a termination
payment.

Rollover Risk

The Port Authority would be exposed to rollover risk if the swaps mature or are
terminated prior to the maturity of the associated debt. Currently, there are no swaps
exposed to rollover risk since they are not associated with any debt obligations.
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Note E — General and Consolidated Bond Reserve Funds

The General Reserve Fund is pledged in support of Consolidated Bonds and Notes.
Statutes which require the Port Authority to create and maintain the General Reserve
Fund established the principle of pooling revenues from all facilities and require that the
Port Authority apply surplus revenues from all of its existing facilities to maintain the
General Reserve Fund in an amount at least equal to 10% of the par value of outstanding
bonds legal for investment. At December 31, 2011, the General Reserve Fund balance
was $1,783,369,487 and met the prescribed statutory amount(see Schedule C —
Analysis of Reserve Funds).

The balance remaining of all net revenues of the Port Authority's existing facilities after
deducting payments for debt service upon all Consolidated Bonds and Notes and the
amount necessary to maintain the General Reserve Fund at its statutorily required
amount is to be paid into the Consolidated Bond Reserve Fund, which is pledged as
additional security for all outstanding Consolidated Bonds and Notes. Consolidated
Bonds and Notes have a first lien upon the net revenues(as defined in the Consolidated
Bond Resolution) of all existing facilities of the Port Authority and any additional facility
financed by Consolidated Bonds.

Other asset obligations (commercial paper obligations, variable rate master notes,
versatile structure obligations, swaps executed after 2005, MOTBY obligation and Tower
4 Liberty Bonds), and the interest thereon, are not secured by or payable from the
General Reserve Fund. Principal of, and interest on, other asset obligations are payable
solely from the proceeds of obligations issued for such purposes or from net revenues
paid into the Consolidated Bond Reserve Fund and, in the event such proceeds or net
revenues are insufficient therefor, from other moneys of the Port Authority legally
available for such payments. Operating asset obligations (equipment notes and the fund
buy-out obligation) are payable in the same manner and from the same sources as
operating expenses. Special project bonds are not secured by or payable from the
General Reserve Fund or the Consolidated Bond Reserve Fund.

The Port Authority has along-standing policy of maintaining total reserve funds in an
amount equal to at least the next two years' bonded debt service on outstanding debt
secured by a pledge of the General Reserve Fund. The moneys in the reserve funds
may be accumulated or applied only to purposes set forth in legislation and the
agreements with the holders of the Port Authority's obligations pertaining thereto. At
December 31, 2011, the Port Authority met the requirements of the Consolidated Bond
Resolution to maintain total reserve funds in cash and certain specified securities.




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Note F — Funding Provided by Others

During 2011 and 2010, the Port Authority received federal and state grants and
contributions from other entities for various programs as summarized below:

1. Operating programs

   a. K-9 Program —The FAA and the Transportation Security Administration (TSA)
      provided funding for operating costs associated with the training and care of
      explosive detection dogs. Amounts received in connection with this program
      were approximately $1,336,000 in 2011 and $1,007,000 in 2010.

   b. Airport Screening Program —The TSA provided approximately $459,000 in both
      2011 and 2010 to fund operating costs incurred by Port Authority police
      personnel involved with airport screening programs at JFK and EWR.

   c. U.S. Department of State (USDOS)—The Port Authority received $1,310,000 in
      2011 and $1,031,000 in 2010 from the USDOS to fund operating security costs
      incurred by Port Authority police personnel for the United Nations General
      Assembly.

   Amounts in connection with operating activities are recorded as operating revenues
   on the Consolidated Statements of Revenues, Expenses and Changes in Net Assets
   and on Schedule A — Revenues and Reserves.

2. Grants and Contributions in Aid of Construction

   a. Subsequent to September 11, 2001, the Port Authority entered into various
      agreements with federal and state agencies for programs associated with
      security related projects through which the Port Authority would be reimbursed
      for eligible expenses. Amounts provided in connection with security projects
      totaled $39 million in 2011 and $38 million in 2010.

   b. The Port Authority receives contributions in aid of construction with respect to its
      facilities from federal, state and other entities. Amounts from the FTA for the
      WTC Transportation Hub, including the restoration of the permanent UVTC PATH
      Terminal, in 2011 and 2010 were approximately $315 million and $218 million,
      respectively. Amounts from the FAA under the Airport Improvement Program in
      2011 and 2010 were approximately $40 million and $89 million, respectively.
      Other contributions in aid of construction, including $275 rriillion in contributed
      capital from the Silverstein net lessees for the construction of WTC Towers 2, 3
      and 4 and $100 million in contributed capital from Durst for the construction,
      management and operation of WTC Tower 1, totaled $386 million in 2011 and
      $23 million in 2010.



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Note G -Lease Commitments

1. Operating lease revenues

Gross operating revenues attributable to fixed rentals associated with operating leases
amounted to approximately $1 billion in both 2011 and 2010.

2. Property held for lease

The Port Authority has entered into operating leases with tenants for the use of space at
various Port Authority facilities including buildings, terminals, offices and consumer
service areas at air terminals, marine terminals, bus terminals, rail facilities, industrial
parks, the Teleport, the WTC and the Newark Legal and Communications Center.
Investments in such facilities, as of December 31, 2011, include property associated with
minimum rentals derived from the leases. It is not reasonably practicable to segregate the
value of assets associated with producing minimum rental revenue from the value of assets
associated with an entire facility.

Future minimum rentals are predicated upon the ability of the lessees to meet their
commitments. Future minimum rentals scheduled to be received on operating leases in
effect on December 31, 2011 are:

Year ending December 31:                                                         ___
                                                                                       (In thousands)

2012                                                                                   $   863,635
2013                                                                                       831,834
2014                                                                                       816,325
2015                                                                                       790,587
2016                                                                                       645,628
Later years                                                                             41,209,060
Total future minimum rentals (a-c)                                                     $45.157,069

(a) Includes future rentals of approximately $36 billion attributable to the WTC net leases.
(b) Future minimum rentals decreased in 2011 by approximately $29 billion primarily in connection with
    the net lease for One World Trade Center, resulting from the Port Authority and Durst entering into
    various agreements related to the establishment of a joint venture with .respect to the construction,
    financing, leasing, management and operation of One World Trade Center.
(c) Not included in the future minimum rentals is approximately $2.2 billion attributable to lease
    agreements at One World Trade Center entered into with Vantone Industrial Co., Ltd for 191,000
    square feet of office space and Advance Magazine Publishers Inc d/b/a Conde Nast for
    approximately 1 million square feet of office and related space. Rentals from these leases are
    contingent upon specific events commencing upon completion of the building.




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3. Property leased from others

Rental expenses under leases, including payments to the cities of New York and Newark
for various air terminals, marine terminals and other facilities and the cost of replacement
office space due to the destruction of the WTC,aggregated $278 million in 2011 and $270
million in 2010.

Future minimum rentals scheduled to be paid on operating leases in effect on December
31, 2011 are detailed below. Additional rentals may be payable based on earnings of
specified facilities under some of these leases.

Year endina December 31:
                                                                                (In thousands)

2012                                                                             $  232,493
2013                                                                                230,767
2014                                                                                230,065
2015                                                                                225,819
2016                                                                                187,280
2017-2021                                                                           898,599
2022-2026                                                                           880,131
2027-2031                                                                           870,000
2032-2036                                                                           870,000
2037-2065*                                                                        3,387,000
Total future minimum.rent payments                                               $8.012.154
*Future minimum rent payments for the years 2037-2065 reflect payments associated with the City
 of New York and the City of Newark lease commitments.

Note H — Regional Programs

   At the request of the Governors of the States of New York and New Jersey, the
   Port Authority participates in certain programs that are deemed essential to the
   continued economic viability of the two states and the region. These programs,
   which are generally non-revenue producing to the Port Authority, are addressed by
   the Port Authority in its budget and business planning process in the context of the
   Port Authority's overall financial capacity. To the extent not otherwise a part of
   existing Port Authority facilities, these projects are effectuated through additional
   Port Authority facilities established solely for these purposes. The Port Authority
   does not expect to derive any revenues from regional development facilities
   described below.
   • Regional Development Facility —This facility is a centralized program of certain
     economic development and infrastructure renewal projects. It was expected that
     $250 million of capital funds would be made available in connection with the
     Governors' Program of June 1983. As of December 31, 2011, approximately
     $247 million has been expended under this program.


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  • Regional Economic Development Program —This facility is to be comprised of
    up to $400 million for certain transportation, economic development and
    infrastructure renewal projects. Net expenditures on projects authorized under
    this program totaled approximately $395 million as of December 31, 2011.

  • Oak Point Rail Freight Link —The Port Authority has participated with the
    New York State Department of Transportation in the development of the
    Oak Point Rail Freight Link. As of December 31, 2011, the Port Authority
    has provided approximately $102 million for this rail project, of which
    approximately $63 million was made available through the Regional
    Development Facility and the Regional Economic Development Program.

  • New Jersey Marine Development Program —This program was
    undertaken to fund certain fishery, marine or port development projects in
    the State of New Jersey at a total cost not to exceed $27 million. All funds
    under this program have been fully allocated and expended.

  • New York Transportation, Economic Development and Infrastructure
    Renewal Program —This facility was established to provide up to $250 million
    for certain transportation, economic development and infrastructure renewal
    projects in the State of New York. As of December 31, 2011, $245 million has
    been spent on projects associated with this program.

  • Regional Transportation Program —This facility was established in conjunction
    with a program to provide up to $500 million for regional transportation initiatives.
    As of December 31, 2011, all funds under this program have been fully
    expended.

  • Hudson-Raritan Estuary Resources Program —This facility was established to
    acquire certain real property in the Port District area of the Hudson-Raritan
    Estuary for environmental enhancemenUancillary economic development
    purposes, in support of the Port Authority's capital program. The cost of real
    property acquired under this program is not to exceed $60 million. As of
    December 31, 2011, approximately $46 million has been expended under this
    program.

      Regional Rail Freight Program —This facility provides for the Port Authority to
      participate, in consultation with other governmental entities in the States of New
      York and New Jersey, in the development of certain regional rail freight projects
      to provide for increased rail freight capacity. The Port Authority is authorized to
      provide up to $50 million. As of December 31, 2011, all funds under this program
      have been fully expended.

  • Meadowlands Passenger Rail Facility —This facility, which links New Jersey
    Transit's(NJT) Pascack Valley Rail Line to the Meadowlands Sports Complex,
    encourages greater use of PATH service since NJT runs shuttle bus service at

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       peak times to Hoboken. The improved level of passenger rail service provided
       by the facility also serves to ease traffic congestion on the Port Authority's
       interstate tunnel and bridge crossings. The Port    Authority is authorized to
       provide up to $150 million towards the project's capital costs. As of December
       31, 2011, all funds under this program have been fully expended.

As of December 31, 2011, a total of approximately $2.1 billion has been expended for
regional programs. Costs for these programs that are not otherwise recognized as
part of an existing Port Authority facility, are deferred and amortized over the period
benefited, up to a maximum of 15 years. The unamortized costs of the regional
programs are as follows:
                                               Dec. 31,  Project                  Dec. 31,
                                                 2010 Expenditures Amortization    2011
                                                            (In thousands)
Regional Development Facility                  $ 40,816      $    -     $ 6,423   $ 34,393
Regional Economic Development Program           122,238           -      19,884    102,354
Oak Point Rail Freight Link                       9,779           -       1,630      8,149
New Jersey Marine Development Program             5,028           -         834      4,194
New York Transportation, Economic
Development and Infrastructure Renewal
Program                                         158,063           -      15,891    142,172
Regional Transportation Program                 176,721           -      16,667    160,054
Hudson-Raritan Estuary Resources Program         35,520       3,332       2,875     35,977
Regional Rail Freight Program                    28,828           -       3,333     25,495
Meadowlands Passenger Rail Facility             117,395           -      10,000    107,395
Total unamortized costs of regional programs   $694,388      $3,332     $77,537   $620,183


2. Bi-State Initiatives -From time to time, the Port Authority makes payments to assist
various bi-state regional operating initiatives. During 2011, the Port Authority expended
approximately $16 million on regional initiatives, bringing the total amount spent to date
to approximately $140 million.

3. Buy-out of Fund for Regional Development - In 1983, the Fund for Regional
Development(Fund) was established to sublease space in the WTC that was
previously held by the State of New York as tenant. An agreement among the Port
Authority and the States of New York and New Jersey with respect to the Fund
provided that net revenues from the subleasing were to be accumulated subject to
disbursements to be made upon the concurrence of the Governors of New York and
New Jersey. The assets, liabilities, revenues and expenses of the Fund were not
consolidated with those of the Port Authority. In 1990, the Port Authority and the
States of New York and New Jersey agreed to terminate the Fund. The present value
(calculated at the time of the termination agreement) of the cost to the Port Authority
of its purchase of the Fund's interest in the WTC subleased space was approximately
$431 million. The liability for payments to the States of New York and New Jersey
attributable to the Fund buy-out is further described in Note D-1 (F).


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Note I - Pension Plans and 01:her Em to ee Benefits

    Pension Plans

a. Generally, full-time employees of the Port Authority (but not its related entities} are
required to join one of finro cost-sharing multiple-employer defined benefit pension plans,
the New York State and Local Employees' Retirement System (ERS)or the New York
State and Local Police and Fire Retirement System (PFRS), collectively referred to as the
"Retirement System." The New York State Constitution provides that membership in a
pension or retirement system of the State or of a civil division thereof is a contractual
relationship, the benefits of which may not be diminished or impaired.
The Retirement System provides retirement benefits related to years of service and final
average salary, death and disability benefits, vesting of benefits after a set period of
credited public service, and optional methods of benefit payment. Depending upon the
date of membership, retirement benefits differ as to the qualifying age oryears-of-service
requirement for service retirement, the benefit formula used in calculating the retirement
allowance and the contributory ornon-contributory nature of the plan.

Employer contributions to the Retirement System are determined based on an actuarial
valuation of the present value of future benefifs for ~cfiiv~ end .retired members. When
the actuarially determined value of benefits is greater than the assets to be used for the
payment of benefits, the difference must be made up through employer contributions.
That difference is amortized over the working lives of current members to determine the
required annual contribution. Separate calculations are done for each plan, since each
plan allows for different benefits. However, in no case will the employer's annual
contribution to the Retirement System be less than 4.5% of covered payroll, including
years in which the investment performance of the New York State Common Retirement
Fund would make a lower contribution possible.

The Port Authority's covered ERS and PFRS payroll expense for 2011 was approximately
$396 million and $219 million, respectively.

Required Port Authority contributions to the Retirement System, including costs for
participation in retirement incentive programs, are as follows:

     Year                               % of                                 % of
    Ended             ERS           Covered Payroll         PFRS         Covered Payroll
                                         ($ In thousands)

     2011           $54,060              13.7%              $40,485          18.5%
     2010           $62,095              15.0%              $34,116          16.4%
     2009           $29,526               7.1%              $32,960          15.6%

These contributions cover the entire funding requirements for the current year and each
of the two preceding years.


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In 2011, employee contributions of approximately $9.2 million to the ERS represented 2.3%
of the payroll for employees covered by ERS.

The Annual Report of the Retirement System, which provides details on valuation
methods and ten-year historical trend information, is available from the Comptroller of
the State of New York, 110 State Street, Albany, New York 12236.

b. Employees of PATH are not eligible to participate in New York State's Retirement
System. For most employees represented by unions, PATH contributes to supplemental
pension plans. Annual PATH contributions to these plans are defined in the various
collective bargaining agreements; no employee contributions are required. Eligibility for
all benefits prior to normal retirement requires the completion of at least five years of
vested service and depends upon years of credited service and monthly benefit rates in
effect at the time of retirement. Trustees, appointed by the various unions, are
responsible for the administration of these pension plans. PATH payroll expense.in 2011
for these employees was approximately $87 million. For the year 2011, contributions
made by PATH in accordance with the terms of various collective bargaining agreements
totaled approximately $6 million, which represented approximately 7.1% of the total PATH
covered payroll for 2011. Contributions were approximately $6 million for both 2010 and
2009.

c. Employees of PATH who are not covered by collective bargaining agreements
(sometimes referred to as PATH Exempt Employees) are members of the PATH
Corporation Exempt Employees Supplemental Pension Plan, amended and restated
as of January 1, 2011 (the Plan). The Plan is anon-contributory, single employer,
defined benefit governmental pension plan administered by the Port Authority.

The Plan provides retirement benefits related to years of service as a PATH Exempt
Employee and final average salary, death benefits for active PATH Exempt
Employees, vesting of retirement benefits after a set period of credited service as a
PATH Exempt Employee, and optional methods of retirement benefit payment.
Depending upon the date of membership, retirement benefits differ as to the qualifying age
oryears-of-service requirement and the benefit formula used in calculating retirement
benefits.

As of December 31, 2011, Plan participants include 95 retired PATH Exempt
Employees (or their beneficiaries), 77 active PATH Exempt Employees, and 31
terminated but vested employees who are not currently receiving benefits.

On January 31, 2011, PATH requested a determination letter from the Internal
Revenue Service to recognize the amended and restated Plan as a qualified plan
under section 401(a) of the Internal Revenue Code.
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Actuarial Methods and Assumptions

The actuarially determined valuation of the unfunded Net Pension Obligation (NPO)of
the Plan was reviewed in 2011 for purposes of recognizing an actuarially determined
Annual Required Contribution operating expense provision and the change in the NPO
liability for the Plan in the Port Authority consolidated financial statements.

The actuarial valuation was performed in accordance with GASB Statement No. 25,
Financial Reporting for Defined Benefit Pension Plans and Note Disclosures for
Defined Contribution Plans, GASB Statement No. 27, Accounting for Pensions by
State and Local Governmental Employers and GASB Statement No. 50, Pension
Disclosures (an amendment of GASB Statements No. 25 and No. 27). The Plan does
not issue separate stand-alone financial statements.

Projections of benefits for financial reporting purposes are based on the terms of the Plan
as described by PATH to participants, and include the types of benefits provided at the
time of each valuation.

In the December 31, 2011 actuarial valuation, the projected unit credit cost method was
employed for all participants. Actuarial assumptions used to project pension benefits
included a 5.25% investment rate of return, representing the estimated long term yield on
investments expected to be used for the payment of pension benefits and a salary scale
adjustment of 3% per annum (including 2.5% inflation factor).

The Annual Required Contribution represents the actuarially determined level of funding
that, if paid on an ongoing basis, is projected to cover annual benefit costs and the 30-
yearopen amortization amounts, which represents the difference between the actuarial
accrued liability and amounts previously recognized. The following reflects the
components of the 2011 Annual Required Contribution, benefits paid and changes to
the NPO.

            Annual Required Contributions and NPO for 2011
                                                                     (In thousands)


Normal Cost                                                           $ 1,236
Amortization Cost                                                       1,341
Interest on NPO                                                         1,357
Annual Required Contribution                                            3,934

Benefits Paid in 2011                                                    2 877
Increase in NPO in 2011                                                  1,057

NPO Beginning of Year                                                   25,847
NPO End of Year                                                         26 904



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The year-to-year change in the NPO consists of the difference between the 2011
annual required contribution and 2011 pension benefits paid to Plan participants. As
of December 31, 2011, the actuarial accrued liability for pension benefits totaled $53.9
million. The difference between the actuarial accrued liability of $53.9 million and the
$25.8 million previously recognized is being amortized as a level dollar amount over
an open amortization period of 30 years.

             Annual Required Contributions and NPO for 2009 2011       -




                                                              Ratio of
                                                              Benefit
                                                           Payments to
                NPO          Annual                           Annual        NPO Year-
             Beginning      Required         Benefit         Required          End
  Year        Balance     Contribution Payments            Contribution      Balance
                                      ($ In thousands)

  2011        $25,847        $3,934           $2,877          73.14   %         $26,904
  2010        $25,236.       $3,976           $3,365          84.64   %         $25,847
  2009        $24,255        $3,951           $2,970          75.17   %         $25,236

Funding Status

PATH (the employer) does not currently fund the Plan; therefore, there are no Plan
assets. Retirement benefit payments are on apay-as-you-go basis from available Port
Authority operating funds.

The Schedule of Funding Progress for the plan covering 2011 is:

                                                                                  Unfunded
                                                                                  Actuarial
                                         Unfunded                                  Accrued
 Actuarial     Actuarial Actuarial        Actuarial                                Liability
 Valuation     Value of Accrued           Accrued        Funded       Covered     as a of %




   Date         Assets    Liability        Liability      Ratio        Payroll      Payroll
                                        ($ In thousands)

  12/31/11        $0       $53,977        $53,977           0%        $ 9,185       587.65%

The schedule of funding progress for the previous five years is presented as required
supplementary information immediately following the notes to the financial statements,
and presents multi-year trend information about whether the actuarial value of plan
assets is increasing or decreasing over time relative to the actuarial accrued liability for
benefits.




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2. Other Employee Benefits

Benefit Plans

The Port Authority and PATH provide, pursuant to Board action or as contemplated
thereby, certain group health care, prescription, dental, vision and term life insurance
benefits for active and retired employees of the Port Authority and PATH (and for eligible
dependents and survivors of active and retired employees). Collectively, these covered
individuals are referred to as "participants." Contributions toward the costs of some of
these benefits are required of certain participants. These contributions generally range
from 10% to 50% of the Port Authority or PATH's cost of the benefit and depend on a
number of factors, including status of the participants, type of benefit, hire date, years of
service, and retirement date. Benefits are provided through insurance companies whose
premiums are based on the benefits paid during the year, or through plans under which
benefits are paid by service providers on behalf of the Port Authority or PATH. The
actuarially determined valuation of postemployment benefits is reviewed annually for the
purpose of estimating the present value of future benefits for participants.

Actuarial Methods and Assumptions

Projections of benefits for financial reporting purposes are based on the benefit plans as
described by the Port Authority and PATH to participants, and include the types of
benefits provided at the time of each valuation and the historical pattern of sharing of
benefit costs to that point. The actuarial methods and assumptions used include
techniques that are designed to reduce the effects of short-term volatility in actuarial
accrued liabilities, consistent with the long-term perspective of the calculations.

Actuarial valuations of an ongoing plan involve estimates and assumptions about the
probability of occurrence of events far into the future, including future employment,
mortality; and healthcare cost trends. Actuarially determined amounts are subject to
continual revision as actual results are compared with past expectations and new
estimates are made about the future.

In the January 1, 2011 actuarial valuation, the projected unit credit cost method was used
for all participants..The actuarial assumptions used to project future costs included a 6%
investment rate of return, representing the estimated yield on investments expected to be
used for the payment of benefits; a medical healthcare cost trend rate of 8% in 2011,
declining to an ultimate rate of 5% in 2014; a pharmacy benefit cost trend rate of 5% in
2011; and a dental benefit cost trend rate of 4.5% per year. In addition, the unfunded,
unrecognized actuarial accrued liability is amortized as a level dollar amount over a
period of 30 years.

Other Postemployment Benefit Costs and Obligations

The annual non-pension postemployment benefit cost is actuarially determined in
accordance with the parameters of GASB Statement No. 45, Accounting and Financial

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Reporting by Employers for Postemployment Benefits Other Than Pensions, which also
forms the basis for calculating the annual required contribution for the Port Authority and
PATH. The annual required contribution represents the actuarially determined level of
funding that, if paid on an ongoing basis, is projected to cover annual benefit costs and
the 30-year open amortization of the difference between the actuarial accrued liability and
amounts previously recognized. The Port Authority has been recognizing OPEB costs
since 1985. The following reflects the components of the 2011 annual OPEB costs,
amounts paid, and changes to the net accrued OPEB obligation based on the January 1,
2011 actuarial valuation:

                                                                              (In millions)
Normal actuarial cost                                                          $     35.8
Amortization cost                                                                    83.9
Interest on excess contribution                                                       6.6
Annual Required Contribution                                                      113.1
OPEB payments                                                                     103.7
Increase in net OPEB obligation                                                       9.4
Net accrued OPEB obligation as of 12/31/10                                        539.9
OPEB obligation as of 12/31/11                                                    549.3
Trust contributions                                                               1f 00.0)
Net accrued OPEB obligation as of 12/31/11                                        449.3

As of January 1, 2011, the actuarially accrued liability for OPEB totaled approximately
$2 billion. The difference between the actuarial accrued liability of $2 billion and the sum
of the $539.9 million liability previously recognized and the $274 million in trust assets is
being amortized using an open amortization approach over a 30-year period.

The Medicare Prescription Drug, Improvement, and Modernization Act of 2003
established a new prescription drug benefit commonly known as Medicare Part D. The
Port Authority's application to the Centers for Medicare and Medicaid Services(CMS)
within the Department of Health and Human Services to sponsor a Part D Plan for
retirees was approved effective January 1, 2006. Effective January 1, 2009, the Port
Authority contracted with Express Scripts, Inc. for an Employee Group Waiver Plan (CMS
approved series 800 plan) covering its retirees. Under the contract, Express Scripts, Inc.
assumed responsibility for the administrative and compliance obligations imposed by
CMS. In 2011, CMS payments to Express Scripts, Inc., on behalf of the Port Authority,
totaled approximately $3.5 million. These amounts were considered in calculating the
actuarial valuation of the OPEB liability.
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The Port Authority and PATH's combined annual OPEB cost, the percentage of annual
OPEB cost contributed to the plans, and the net accrued OPEB obligation for 2011 and
the two preceding years, were as follows:

                     Annual           OPEB Payments as a %               Net
                    Required           of Annual Required           Accrued OPEB
     Year         Contribution             Contribution               Obligation
                                    ($ In thousands)

    2011            $ 113,078                    180%                  $ 449,299
    2010            $ 130,942                    127%                  $ 539,979
    2009            $ 114,270                    127%                  $ 575,314

Funding Status

On December 14, 2006, the Port Authority established a restricted fund to provide funding
for post employment benefits. Effective December 2010, the Port Authority's quarterly
contribution to The Port Authority of New York and New Jersey Retiree Health Benefits
Trust (Trust), with Wells Fargo Bank, N.A-Institutional Trust Services serving as the
Trustee, increased from $15 million to $25 million. In 2011 and 2010, contributions to the
Trust totaled $100 million and $70 million, respectively.

OPEB Trust net assets, the actuarial accrued liability, the unfunded actuarial accrued
liability for benefits, the annual payroll amounts for active employees covered by the plans
and the ratio of the unfunded actuarial liability to covered payroll for the three most recent
valuation dates were as follows:

                                                               Covered      Ratio of the
                                             Unfunded           Payroll      Unfunded
                  OPEB                       Actuarial        for Active      Actuarial
  Actuarial        Trust      Actuarial      Accrued         Employees        Liability
  Valuation         Net       Accrued         Benefit        Covered by     to Covered
    Date          Assets       Liability      Liability       the Plans        Payroll
                                           ($ In millions)

   1/1/2011        $274         $1,978         $1,704           $712            239%
   1/1/2010        $180         $2,120         $1,940           $722            269%
   1/1/2009        $100         $1,898         $1,798           $719            250%

Following are the Condensed Statements of Trust Net Assets and Changes in Trust Net
Assets held in trust for OPEB for 2011 and 2010. The activities are accounted for using
the accrual basis of accounting and all investments are recorded at their fair value.




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   Statement of Trust Net Assets
                                                           December 31,
                                                       2011           2010
                                                           (In thousands)
   ASSETS
   Cash                                            $     6,425       $         58

   Investments, at fair value:
     Bond/Equity Funds                                 370,126           274,038
        Total investments                              370,126           274,038

     Total assets                                      376,551           274,096

   LIABILITIES
     Total liabilities                                       -                   -
   NET ASSETS HELD IN TRUST FOR OPEB               $ 376,551         $ 274,096




   Statements of Changes in Trust Net Assets
                                                   Year Ended December 31,
                                                     2011              2010
                                                          Qn thousands)
   Additions
   Contributions                                   $ 100,000         $ 70,000
     Total Contributions                             100,000           70,000

   investment Income:
     Net change in fair value of investments            (6,450)             18,743
     Interest income                                     9,060               5,858
        Total Net Investment gain (loss)                 2,610              24,601

   Deductions
   Administrative expenses and fees                       155                (27~)
        Total deductions                                  155                 270

   Net Increase                                        102,455              94,331

   Trust net assets, January 1                         274,096           179,765

   NET ASSETS HELD IN TRUST FOR OPEB               $ 376,551          $ 274,096




The audited financial statements for the years ended December 31, 2011 and
December 31, 2010 of the Trust, which provides additional information concerning
trust assets, are available from the Comptroller's Department of The Port Authority of
New York and New Jersey, 1 PATH Plaza, Jersey City, New Jersey 07306.
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Notes to the Consolidated Financial Statements
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Note J — Commitments and Certain Chargesto Operations

1. On December 8, 2011, the Board of Commissioners of the Port Authority adopted
the preliminary budget for 2012. Approval of a budget by the Board of Commissioners
does not in itself authorize any specific expenditures, which are authorized from time to
time by or as contemplated by other actions of the Board of Commissioners consistent
with statutory, contractual and other commitments of the Port Authority, including
agreements with the holders of its obligations.

2. At December 31, 2011, the Port Authority had entered into various construction
contracts totaling approximately $5.1 billion, which are expected to be completed within
the next three years.

3. The Port Authority carries insurance or requires insurance to be carried (if available)
on or in connection with its facilities to protect against direct physical loss or damage
and resulting loss of revenue and against liability in such amounts as it deems
appropriate, considering self-insured retentions, purchase of insurance through its
captive insurance entity, PRICE, exceptions, or exclusions of portions of facilities, and
the scope of insurable hazards. In view of the current state of the insurance industry,
availability of coverage may be constrained and premium cysts may increase for
available coverage in connection with the Port Authority's periodic renewal of its
insurance programs.

a. Property damage and loss of revenue insurance program:

The Port Authority's property damage and loss of revenue insurance program (which
was renewed effective June 1, 2011 and expires on June 1, 2012) provides for
coverage as follows:




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                 General Coverage                                                    Terrorism Coverage
               (Excluding Terrorism)


         $1.425 billion of purchased coverage                                     $1.21 billion TRIPRA"` Coverage
                                                                                               ~PA~




                                                                              $213.75 million of purchased coverage




                 $25 million in the aggregate                                      $25 million in the aggregate
           self-insurance after w hich purchased                         self-insurance after w hich purchased coverage
                       covers e a lies                                                         a lies
            $5 million per occurrence deductible                               $5 million per occurrence deductible




  On December 26, 2007, the Federal government enacted the Terrorism Risk Insurance Program Reauthorization Act of 2007
(TRIPRA), which replaced the Federal reinsurance provisions of the Terrorism Risk Insurance Act of 2002(TRIA) and added
reinsurance for acts of domestic terrorism in addition to acts of foreign terrorism through December 31, 2014. Under TRIPRA, the
Federal government reinsures 85% of certified terrorism losses, subject to a $100 million deductible and a 20%insurance
carrier/captive deductible, in an amount not to exceed an annual cap on all such losses payable under TRIPRA of $100 billion. No
federal payments are made under this program until the aggregate industry insured losses from acts of terrorism exceed $100
million.


                                                 Wind Coverage
                                         (Sub-limit to General Coverage)


                                               $375 million purchased coverage



                                                 $25 million in the aggregate
                                           self-insurance after w hick purchased
                                                      coverage applies
                                            $5 million per occurrence deductible




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b. Public liability insurance program:

  (1-b) Aviation facilities

   The Port Authority's public liability insurance program for aviation facilities (which
   was renewed effective October 27, 2011 and expires on October 27, 2012) provides
   for coverage as follows:

                  General Coverage                                               Terrorism Coverage
                (Excluding Terrorism)

            $1.25 billion per occurrence and in the               $1.25 billion aviation war risk"` per occurrence and in the
              aggregate of purchased coverage                                 aggregate of purchased coverage


            $3 million per occurrence deductible




      "Aviation war risk generally includes war, hijacking and other perils, both domestically and internationally.

   (2-b) Non-Aviation facilities

   The Port Authority's public liability insurance program for "non-aviation" facilities
   (which was renewed effective October 27, 2011 and expires on October 27, 2012)
   provides for coverage as follows:

                   General Coverage                                               Terrorism Coverage
                 (Excluding Terrorism)


           $975 million excess above $17.5                                 $300 mullion purchased TRIPRA"               ~,
                 million of purchased                   ^'                             Coverage                         o
                                                                                                                        0
                        coverage                        3                                                               3
                                                        0                                                               0
                                                        0                                                               a
                                                                                                                        c
                                                        v                                                               n
                                                        c                                                               3
                                                        n                                                               v
                                                        w                                                               m
                                                        N                                                               O.
                                                        N                                                               Q
                                                        d                                                               O
                                                        n
                                                        O                                                               (D
                                                        (D                                                              N
                                                        N                                                               f0
                                                       (D                                                               a
                                                        m                                                               m
                                                        v
                 $25 rrrllion of coverage               ~                                                               0
                                                                                                                        n
                                                        0                                                               n
                                                                                                                        c
                                                        n
                                                                                                                        m
     $17.5 million of purchased        $7.5 million     ~                                                               n
                                                                                                                        m
             coverage                self-insurance     n
                                                         m



            $5 rmllion per occurrence deductible                             $5 million per occurrence deductible

     See footnote on page 62




                                                                                                                                63
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During each of the past three years, claims payments have not exceeded insurance
coverage.

4. In providing for uninsured potential losses, the Port Authority administers its self-
insurance program by applications from the Consolidated Bond Reserve Fund and
provides for losses by charging operating expense as liabilities are incurred. As of
December 31, 2011, there was approximately $76 million for the payment of self-
insured claims.

A liability is recognized when it is probable that the Port Authority has incurred an
uninsured loss and the amount of the loss can be reasonably estimated. The liability
for unpaid claims is based upon the estimated cost of settling the claims, which
includes a review of estimated claims expenses, estimated recoveries and a provision
for IBNR claims. Changes in the liability amounts in 2011 and 2010 were:

               Beginning            Additions                               Year-end
  Year          Balance            and Changes           Payments            Balance
                                       (In thousands)

  20'! 1        $ 39,55?              $ 12,347            $  C,3Q2           $45,CQ2
  2010          $ 36,817              $   6,555           $  3,815           $39,557

5. On October 16, 2006, the District of Columbia approved the establishment of a Port
Authority captive insurance company, known as the Port Authority Insurance Captive
Entity, LLC, for the purpose of insuring certain risk exposures of the Port Authority and
its related entities. Under its current Certificate of Authority issued by the District of
Columbia, PAICE is authorized to transact insurance business, in connection with
Workers' Compensation, general liability, builders risk, property and terrorism insurance
coverage for the Port Authority and its related entities. With the passage of TRIPRA,
PAICE assumed coverage for acts of domestic terrorism with respect to the Port
Authority's public liability and property damage and loss of revenue insurance programs
in addition to the previously provided coverage for acts of foreign terrorism. In addition,
as of December 31, 2011, PAICE has continued to provide the first $1,000,000 in
coverage under the Workers' Compensation portion, the first $500,000 in coverage
under the general liability aspect of the Port Authority's Contractor's Insurance Program,
and $1 billion of Builders Risk and Terrorism coverage for the WTC Transportation Hub
Owner Controlled Insurance Program, which is 100% reinsured through the commercial
insurance marketplace and TRIPRA.

Any changes in the lines of insurance being provided by PAICE or its capitalization are
subject to prior approval by the Port Authority Board of Commissioners' Committee on
Finance. PAICE also provides periodic reports with respect to its general operations to
the Port Authority's Board of Commissioners.

The financial results for PAICE for the year ended December 31, 2011 are set forth
below. Amounts associated with PAICE recorded on the Port Authority's consolidated
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Notes to the Consolidated Financial Statements
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financial statements have been adjusted to reflect intercompany transfers between the
Port Authority and PAICE (see Schedule E).

    Financial Position                                                (In thousands)

    Total Assets                                                         $233,421
    Total Liabilities                                                     112,038
       Net Assets                                                        $121,383

    Operating Results

    Revenues                                                             $ 27,465
    Expenses                                                                9,544
       Net Income                                                        $ 17,921

    Changes in Net Assets

    Balance at January 1, 2011                                           $103,462
    Net Income                                                             17,921
       Balance at Qecember 31, 2011                                      $121,383

6. The 2011 balance of "Other amounts receivable, net" on the Consolidated
Statements of Net Assets consists of approximately $72 million representing advance
payments to DCM Erectors Inc., Tutor Perini, and Tishman Construction for work
performed in connection with the WTC Transportation Hub; approximately $25 million in
net long-term receivables from Port Authority tenants; approximately $8 million in
interest expense reimbursement due from Tower 4 net lessee related to Tower 4 Liberty
Bonds; and approximately $2 million representing the balance due from the private full
service vendor operating the plant at the Essex County Resource Recovery Facility
under the conditional sale agreement through which the vendor financed a portion of the
construction costs of the plant.




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Notes to the Consolidated Financial Statements
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7. The 2011 balance of "Other noncurrent liabilities" consists of the following:

                                                   Dec. 31,                                     Dec. 31,
                                                    2010             Additions Deductions        2011
                                                                       (In thousands)
Workers' Compensation liability                    $42,684             $26,848       $24,144    $45,388
Claims liability                                    39,557              12,347         6,302     45,602
Pollution remediation                               36,520               5,034         9,722     31,832
PATH exempt employees supplemental
  pension plan''                                     25,847                    -      25,847           -




Assetforfeiture                                      11,192              3,478         4,022      10,648
Contractors Insurance Program-WTC                          -
                                                                       122,701              -    122,701
Surety and security deposits                           6,974             1,446           299       8,121
Other                                                  7,009            55,768           117      62,660


Gross other liabilities                           $169,783            $227,622       $ 70,453    326,952
Less current portion:
  Workers' Compensation liability                                                                 15,556
Total other noncurrent liabilities                                                              $311,396
* Reclassified to "Accrued pension and other noncurrent employee benefits" in 2011

8. During 2011, approximately $35 million in capital expenditures primarily associated
with the construction of a podium covered with prismatic glass at the base of One World
Trade Center building and the development of advanced metering projects at LGA and
JFK, that were previously included as a component of "Facilities, net" were determined
to represent costs for projects that will not proceed forward to completion, or for
preliminary engineering and design work related to alternative analyses no longer
considered viable for ongoing projects. As a result, these charges were written off to
operating expense accounts in 2011.

9. During 2011, the Port Authority provided voluntary termination benefits, including
severance payments based primarily on years of service to 15 employees. Port
Authority costs totaled approximately $1 million in 2011 for these severance programs.
As of December 31, 2011, all severance amounts were recognized.

10.In accordance with GASB Statement No. 49, Accounting and Financial Reporting
for Pollution Remediation Obligations, an operating expense provision and
corresponding liability measured at its current value using the expected cash flow
method have been recognized for certain pollution remediation obligations that
previously may not have been required to be recognized, have been recognized earlier
than in the past or are no longer able to be capitalized as a component of a capital
project. The Port Authority recognized an additional $5 million in pollution remediation
obligations, thus increasing the cumulative amounts recognized to date from $52 million
in 2010 to $57 million in 2011, net of $2.1 million in expected recoveries. A
corresponding liability, measured at its current value utilizing the prescribed expected
cash flow method, has been recognized on the Consolidated Statements of Net Assets.
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As of December 31, 2011, the outstanding pollution remediation liability totaled $31.8
million, primarily consisting of future remediation activities associated with asbestos
removal, lead abatement, ground water contamination, soil contamination, and arsenic
contamination at Port Authority facilities.

Note K — Information with Respect to the Redevelopment of the World Trade
Center Site

The terms of the original July 2001 net leases established both an obligation and
concomitant right for the net lessees, at their sole cost and expense, to restore their net
leased premises following a casualty whether or not the damage is covered by
insurance proceeds in accordance, to the extent feasible, prudent and commercially
reasonable, with the plans and specifications as they existed before the casualty or as
otherwise agreed to with the Port Authority. The net lessees obtained property
damage and business interruption insurance in a combined single limit of
approximately $3.5 billion per occurrence: The net lessees recovered approximately
$4.57 billion against available policy limits of approximately $4.68 billion. Approximately
$2.3 billion of these funds has been used for the net lessees' business interruption
expenses, including the payment of rent to the Port Authority, the prepayment of the
mortgage loan entered into on July 24, 2001 by the Silverstein net lessees with GMAC
Commercial Mortgage Corporation in the amount of approximately $562 mifiion, and
the purchase by the Port Authority on December 23, 2003 of the retail net lessee from
Westfield for $140 million as well as certain of their WTC redevelopment expenses.

Conceptual Framework for the Redevelopment of the Office, Retail and Other
Components of the World Trade Center

The redevelopment of the WTC will provide approximately 10 million square feet of
above-grade office space with associated storage, mechanical, loading, below-grade
parking, and other non-office space, and consist of One World Trade Center, Tower 2,
Tower 3, Tower 4, Tower 5, approximately 450,000 square feet of retail space, a WTC
Transportation Hub, a memorial and interpretive museum (Memorial/Museum) and
cultural facilities and certain related infrastructure.

Future minimum rentals (see Note G)include rentals of approximately $36 billion
attributable to WTC net leases. The inclusion of this amount in future rentals is
predicated upon the assumption that the net lessees of various components of the
WTC Towers 2, 3 and 4, and WTC Retail will continue to meet their contractual
commitments pertaining to their net leased properties, including those with respect to
the payment of rent and the restoration of their net leased properties. The net
lessees' ability to meet these contractual commitments may be affected by the nature
of the downtown Manhattan real estate market, and coordination among various public
and private sector entities involved in the redevelopment of downtown Manhattan.




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One World Trade Center

In November 2006, as part of the continuing redevelopment of the WTC,the Port
Authority acquired from Silverstein Properties 100% of the membership interests in 1
WTC LLC, the then-net lessee of One World Trade Center and Tower 5, which will
comprise, in the aggregate, approximately 4.2 million square feet of office space: On
June 13, 2011, the Port Authority and Durst entered into various agreements in
connection with the establishment of a joint venture with respect to the construction,
financing, leasing, management and operation of the One World Trade Center building.
Durst contributed $100 million for a minority equity interest in Tower 1 Joint Venture
LLC. One World Trade Center will contain 3.0 million square feet of space, comprised
of commercial office space and an indoor observation deck. It is presently expected
that One World Trade Center will be substantially completed by late 2013, at a cost of
approximately $3.1 billion.

World Trade Center Tower 2, Tower 3 and Tower 4

A December 2010 World Trade Center Amended and Restated Master Development
Agreement(MDA), among the Port Authority, PATH, 1 WTC LLC, WTC Retail LLC, and
the Silverstein net lessees, sets forth the respective rights and obligations of the parties
thereto with respect to construction on the W~"C site, including the ailocation of
construction responsibilities and costs between the parties to the MDA.

The Silverstein net lessees are required to construct Tower 4, the Tower 3 podium and
certain sub grade and foundation work required for Tower Z, to be located on the
eastern portion of the WTC site, along the Church Street corridor, comprising, in the
aggregate, approximately 6.2 million square feet of office space, as well as contribute
an aggregate of $140,000,000 toward specified common infrastructure costs. The MDA
also provides for the implementation of a construction coordination and cooperation
plan among the respective parties' construction teams in order to provide for
cooperation and coordination to achieve reasonable certainty of timely project
completion.

World Trade Center Tower 4

For the continued development and construction of Tower 4, with approximately
600,000 of its 2 million square feet of office space preleased to the Port Authority, and
approximately 580,000 square feet preleased to the City of New York, the Port
Authority, as a co-borrower/obligor with respect to the Liberty Bonds issued on
November 15, 2011 under a Tower 4 Tenant Repayment Agreement, has provided
tenant support payments for the benefit of the Silverstein net lessee of Tower 4. The
Port Authority's obligations with respect to the payment of debt service on the Tower 4
Liberty Bonds are evidenced by a separate Tower 4 Bond Payment Agreement between
the Port Authority and the bond trustee. Tenant Support payments would be
reimbursed to the Port Authority from Tower 4 cash flow and to the extent Tower 4 cash
flow is not sufficient, would accrue interest until repaid with an overall term of the
investment not in excess of 40 years. As security for the repayment to the Port

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Authority under the Tower 4 Tenant Support Agreement, the Silverstein net lessee of
Tower 4, the Port Authority and a third party banking institution have entered into an
account control agreement pursuant to which the revenues derived from the operation
of Tower 4 (excluding the rents payable under the space lease with the City of New
York which have been assigned by the Silverstein net lessee of Tower 4 directly to the
bond trustee for the Tower 4 Liberty Bonds) will be deposited into a segregated lockbox
account, in which the Port Authority has a security interest, and will be administered and
disbursed by such banking institution in accordance with the Tower 4 Tenant
Repayment Agreement. To provide additional security for the repayment to the Port
Authority, the Silverstein net lessee of Tower 4 will assign to the Port Authority various
contracts with architects, engineers and other persons in connection with the
development and construction of Tower 4, together with all licenses, permits, approvals,
easements and other rights of the Silverstein net lessee of Tower 4; will grant a first
priority leasehold mortgage on the net lease for Tower 4 to the Port Authority; and will
assign all Tower 4 space leases and rents (other than the space lease with the City of
New York) to the Port Authority.

World Trade Center Tower 3

The Silverstein net lessee of Tower 3 would construct the Tower 3 podium, with the
construction of the office tower to follow. To assist the Silverstein net lessee of Tower 3
in the construction of the Tower 3 office tower following satisfaction of certain private-
marketing triggers the Port Authority has entered into a Tower 3 Tenant Support
Agreement providing for the investment of Port Authority operating funds of $210 million
for the construction of the tower and a backstop of $390 million for certain construction
and leasing overruns, senior debt service shortfalls and operating expense deficits.
These private-market triggers include the Silverstein Tower 3 net lessee raising $300
million of private equity, preleasing 400,000 square feet of the office tower, and
obtaining private financing for the remaining cost of the office tower. The State of New
York and the City of New York have agreed to reimburse the Port Authority for $200
million each of the $600 million to be provided under the Tower 3 Tenant Support
Agreement for a total reimbursement of $400 million. Under the Tower 3 Tenant
Support Agreement, the Silverstein net lessee of Tower 3 is responsible for the
repayment of the $390 million backstop on a subordinated basis, without interest, from
Tower 3 revenues. All repayments of the Tower 3 backstop received by the Port
Authority would in turn be distributed among the Port Authority, the State of New York
and the City of New York in accordance with their respective shares of the $390 million
backstop payments.

The World Trade Center Transportation Hub

Immediately following the terrorist attacks of September 11, 2001, the Governors of the
States of New York and New Jersey and the Board of Commissioners of the Port
Authority made rapid restoration of PATH service a priority on the Port Authority's
agenda. PATH service recommenced at the Exchange Place station (which was
rendered unusable as a result of the events of September 11, 2001) on June 29,

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2003, and PATH service to the WTC site recommenced on November 23, 2003 at the
temporary PATH station at the WTC site.

On July 28, 2005, the Board of Commissioners of the Port Authority authorized the
WTC Transportation Hub project. Construction of the WTC Transportation Hub
commenced on September 6, 2005 and is presently scheduled for completion between
the fourth quarter of 2013 and the second quarter of 2014, at a cost of approximately
$3.44 billion.

World Trade Center Infrastructure Projects

In addition to the WTC Transportation Hub, the Port Authority continues to advance
planning and design for various infrastructure projects toward full build out of the WTC
site. A vehicular security center for cars, tour buses, and delivery vehicles to access
sub grade loading facilities is presently expected to be substantially completed in time to
support the commercial development throughout the WTC site at a cost of
approximately $670 million. Other infrastructure work to be implemented includes
streets and utilities, a central chiller plant, and electrical infrastructure that will support
the operations of the WTC site.

VII~'C Retail

In December 2003, as part of the redevelopment of the WTC, the Port Authority
acquired 100% of the membership interest in the net lessee of the retail components of
the WTC from Westfield for $140 million, and is the sole managing member of this
bankruptcy remote single purpose entity, which was renamed "Wi~C Retail LLC." In
such capacity, the Port Authority has been involved in the planning for the restoration of
the retail components of the WTC. On February 9, 2012, the Board of Commissioners
of the Port Authority authorized a transaction befinreen the Port Authority and Westfield
in which the Port Authority and Westfield would forma 50/50 joint venture to develop,
lease and operate the WTC retail project.

The Memorial

On July 6, 2006, the Board of Commissioners authorized the Port Authority to enter into
an agreement with the Lower Manhattan Development Corporation (LMDC), the
National September 11 Memorial and Memorial Museum at the WTC (Memorial
Foundation), the City of New York and the State of New York for the construction by the
Port Authority of the WTC memorial and cultural project. The agreement establishes
the general areas of responsibility of the parties for the design, development,
construction, financing and operation of the project, which will include the
Memorial/Museum, the Visitor Orientation and Education Center(VOEC), and the
related common and exclusive infrastructure (Infrastructure).

In connection with the funding of the costs of the construction of the project, the
Memorial Foundation and the LMDC are responsible for providing $280 million and

                                                                                            70
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Noes to the Cansolidated Financial Statements
continued

$250 million, respectively, for the Memorial/Museum; the State of New York is
responsible for providing $80 million for the VOEC and the Port Authority is responsible
for providing up to $150 million for the Infrastructure. The    Authority does not have
                                                             Port




any responsibility for the operation and maintenance of the  Memorial, the
Memorial/Museum or the VOEC. The Memorial Plaza was substantially completed and
opened for public access on September 11, 2011.

Accounting

In connection with the events of September 11, 2001, the     Port  Authority reclassified and
recognized as an   operating  expense   the $1.1 billion net book value  of various assets
consisting primarily of buildings, infrastructure and certain ancillary equipment that
together comprised the components of the WTC complex destroyed as a result of the
September 11, 2001 terrorist attacks. A receivable in an amount equal to such net book
value was recorded in 2001. In connection with the recovery for and redevelopment of
certain assets comprising the WTC, the receivable has been fully satisfied on the     Port




Authority's financial statements as of December 31, 2011.




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                       Schedule of Funding Progress
              PATH Exempt Employees Supplemental Pension Plan


                                                                               Unfunded
                                     Unfunded                                  Actuarial
            Actuarial   Actuarial    Actuarial                                  Accrued
Actuarial   Value of    Accrued      Accrued        Funded        Covered    Liability as a
Valuation    Assets      Liability    Liability      Ratio         Payroll   %  of Payroll
  Date         (a)         (b)        (c) (b—a)
                                         _              (al (b1
                                                           /          (d)        Ic)I(dl
                                     ($ In thousands)

12/31/11       $0       $53,977       $53,977            0%       $ 9,185      587.65%
12/31/10       $0       $53,382       $53,382            0%       $10,456      510.56%
12/31/09       $0       $55,270       $55,270            0%       $ 9,043      611.20%
12/31/08       $0       $54,126       $54,126            0%       $ 8,315      650.96%
12/31/07       $0       $53,176       $53,176            0%       $ 8,709      610.55%
12/31/06       $0       $51,712       $51,172            0%       $ 7,506      688.99%




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Schedule A - Revenues and Reserves
(Pursuant to Part Authority bond resolutions)
                                                                     Year ended December 31, 2011                 2010
                                                             Operating        Reserve           Combined        Combined
                                                               Fund            Funds               Total          Totai
                                                                                       (In thousands)
Gross operating revenues:
  Rentals                                                    $1,150,569     $          -     $   1,150,569      $   1,144,709
  Tolls and fares                                             1,148,061                -
                                                                                                 1,148,061          1,069,785
  Aviation fees                                                 895,356                -
                                                                                                   895,356            872,774
  Parking and other                                             339,131                -
                                                                                                   339,131            321,257
   Utilities                                                    154,810                -
                                                                                                   154,810            154,041
   Rentals - Special Project Bonds Projects                     112 553                -           112,553             71,457
Total gross operating revenues                                3 800 480                -
                                                                                                 3,800,480          3,634,023

Operating expenses:
  Employee compensation, including benefits                   1,037,681                -
                                                                                                 1,037,681          1,022,195
  Contract services                                             726,883                -
                                                                                                   726,883           630,438
   Rents and amounts in-lieu-of taxes                           280,237                -
                                                                                                   280,237            272,002
   Materials, equipment and other                               219,183                -
                                                                                                   219,183            418,639
   Utilities                                                    188,432                -
                                                                                                   188,432            183,826
  Interest on Special Project Bonds                             112 553                -
                                                                                                   112,553      _      71,457
Total operating expenses                                      2 564 969                -         2,564,969          2,598,557

Amounts in connection with operating asset obligations           29,580                -            29,580             46,561
Net(recoverables) related to the events
of September 11 2001                                                   -               -                    -         (53,051)

Net operating revenues                                        1,205,931                -         1,205,53   i       1,041,956

Financial income:
   Interest income                                               17,732           30,294             48,026            55,835
   Net (decrease) in fair value of investments                   (1,206)        (100,090)          (101,296)          (56,735)
Contributions in aid of construction                            487,296                 -           487,296           358,268
Application of Passenger Facility Charges                       215,645                 -
                                                                                                    275,645           207,122
Application of 1 WTC LLC/WTC Retail LLC Insurance Proceeds       57,340                 -
                                                                                                     57,340            61,468
Application of 4 WTC associated payments                          8,343                 -
                                                                                                      8,343                  -




Restricted Net Revenues PAICE
                          -
                                                                    644                 -               644              (102)
Grants                                                           23,727                 -            23,727            11,708
Pass-through grant program payments                             (11 507)                -
                                                                                                    (11,507)           (2,166)
Net revenues available for debt service and reserves          2,003,945          (69,796)         1,934,149         1,677,354

Debt service:
  Interest on bonds and other asset financing obligations        480,623          37,702           518,325            444,202
  Debt maturities and retirements                                140,390                -
                                                                                                   140,390            178,095
  Debt retirement acceleration                                                     6,100             6,100                   -




  Repayment of asset financing obligations                             -          20 258            20,258             30,062
Total debt service                                               621,013          64,060           685,073            652,359

Transfers to reserves                                        $(1,382,932)       1,382,932                   -                -




Revenues after debt service and transfers to reserves                           1,249,076         1,249,076          1,024,995
Direct investment in facilities.                                                 (742,001)         (742,001)        (1,375,008)
Change in appropriations for self-insurance                                         1 949             1,949             (3,971)


Increase in reserves                                                              509,024           509,024          (353,984)
Reserve balances January 1                                                      2 196 012         2,196,012         2,549,996    _




Reserve balances, December 31                                               $   2,705,036     $   2,705,036     $   2,196,012




See Notes to Consolidated Financial Statements                                                                              73
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Schedule B - Assets and Liabilities
(Pursuant #o Part Authority bond resolutions}
                                                                                   December 31, 2011                              2010
                                                                 Operating       Capital      Reserve           Combined        Combined
                                                                   Fund           Fund         Funds              Total           Total
                                                                                            (In thousands)
ASSETS
Current assets:
   Cash                                                          $   616,508   $   1,227,251    $   1,453,606   $   3,297,365   $2,451,050
   Restricted cash:
      1 WTC LLC/WTC Retail LLC insurance proceeds                     14,434               -                -         14,434          71,732
      Passenger Facility Charges                                             -             -




      Port Authority Insurance Captive Entity, LLC                   11,038                -                -          11,038           5,435
   Investments                                                        1,290                -          25,000           26,290         250,696
   Current receivables, net                                         320,039           42,708             128          362,875         342,813
   Other current assets                                              62,737          223,201                -         285,938         176,514
   Restricted receivables and other assets                           49,316           (2,888)               -          46,428          50,268
      Total current assets                                        1,075,362        1,490,272        1,478,734       4,044,368       3,348,508

Noncurrent assets:
   Restricted cash                                                    7,765                -                -         7,765             6,618
   Investments                                                      129,967                -        1,226,302     1,356,269         1,339,148
   Restricted Investments PAICE
                           -
                                                                    156,356                -                -       156,356           139,696
   Other amounts receivable, net                                     33,172           73,817                -       106,989           239,270
   Deferred charges and other noncurrent assets                   1,381,691          132,380                -     1,514,071         1,464,338
   Restricted deferred /other noncurrent assets PAICE
                                                -                    13,409                -                -        13,409            14,564
   Amounts receivable - Special Project Bonds Projects                       -    1,741,440                 -     1,741,440         1,780,813
   Amounts receivable -Tower 4 Liberty Bonds                                 -    1,225,520                 -     1,225,520                  -




   Invested in facilities                                                    -   37,591,818                 -    37,591,818     34,204,035
       Total noncurrent assets                                    1,722,360      40,764,975         1,226,302    43,713,637     39,188,482
Total assets                                                      2,797,722      42,255,247         2,705,036    47,758,005     42,536,990

LIABILITIES
Current liabilities:
   Accounts payable                                                  200,339         617,810                -        818,149         717,992
   Accrued interest and other current liabilities                    692,849          66,278                -        759,127         566,732
   Restricted other liabilities PAICE
                            -
                                                                         816               -                -            816             351
   Accrued payroll and other employee benefits                       231,657               -                -        231,657         198,574
   Deferred income:
      1 WTC LLC/WTC Retail LLC insurance proceeds                    14,434                -                -          14,434          71,732
     Passenger Facility Charges                                      19,590                -                -          19,590          20,779
   Restricted Net Revenues PAICE
                             -
                                                                      1,946                -                -           1,946           2,590
   Current portion bonds and other asset financing obligations      129 960         695,959                 -         825,919         972,880
       Total current liabilities                                  1,291,591        1,380,047                -       2,671,638       2,551,630

Noncurrent liabilities:
   Accrued pension and other noncurrent employee benefits            476,879               -                -       476,879           543,747
   Other noncurrent liabilities                                      142,639         168,757                -       311,396           150,894
   Restricted other noncurrent liabilities PAICE
                                           -
                                                                      46,389               -                -        46,389            44,080
   Amounts payable - Special Project Bonds                                   -    1,741,440                 -     1,741,440         1,803,145
   Amounts payable -Tower 4 Liberty Bonds                                    -    1,225,520                 -     1,225,520                  -




   Bonds and other asset financing obligations                      764 163      14,967,172                 -    15,731,335     13,585,625
       Total noncurrent liabilities                               1,430,070      18,102,889                 -    19,532,959     16,127,491
Total liabilities                                                 2,721,661      19,482,936                 -    22,204,597     18,679,121

NET ASSETS                                                       $    76,061     22,772,311
                                                                                 $              $   2,705,036   $25,553,408     23,857,869
                                                                                                                                $




Net assets are composed of:
Facility infrastructure investment                               $           -$  22,772,311     $           -$   22,772,311     21,583,848
                                                                                                                                $




Reserves                                                                     -                 -    2,705,036     2,705,036      2,196,012
Appropriated reserves for self-insurance                              76 061                   -            -        76,061         78,009
Net assets                                                       $    76,061     22,772,311
                                                                                 $              $   2,705,036   $25,553,408     23,857,869
                                                                                                                                $




  See notes to Consolidated Financial Statements                                                                                        74
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SchecluNe G - Analysis of Reserve Funds
{Pursuant to Port Authority band resolutions)

                                                                Year ended December 31, 2011                                  2010

                                                        General           Consolidated
                                                        Reserve           Bond Reserve              Combined               Combined
                                                          Fund                Fund                    Totai                  Total
                                                                                       (In thousands)



Balance, January 1                                     $ 1,584,955          $     611,057         $     2,196,012         $ 2,549,996
Increase in reserve funds      "
                                                           198,415              1,114,721               1,313,136           1,062,637
                                                         1,783,370              1,725,778               3,509,148           3,612,633




Applications
   Repayment of asset financing obligations                        -
                                                                                  20,258                  20,258                30,062
   Interest on asset financing obligations                         -              37,702                  37,702                 7,580
   Debt retirement acceleration                                    -               6,100                   6,106                       -




   Direct investment in facilities                                 -             742,001                 742,001             1,375,008
   Self-insurance                                                  -
                                                                                  (1,949)                 (1,949)                3,971
Total applications                                                 -             804,112                 804,112             1,416,621

Balance, December 31                                  $ 1,783,370           $    921,666          $     2,705,036         $ 2,196,012


* Consists of "Transfers to reserves"from the operating fund totaling $1.4 billion, plus "financial income" generated on Reserve funds of
  negative ($69.8) million in 2011.




See Notes to Consolidated Financial Statements                                                                                           75
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       STATISTICAL AND OTHER SUPPLEMENTAL INFORMATION

                  For the year ended December 31, 2011




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Statisfiicl Section


The Statistical Section presents additional information as context for further
understanding the information in the financial statements, note disclosures and
schedules. The information contained in this section is unaudited.

Financial Trends — Schedule D-1

Trend information is provided to help the reader understand how the Port Authority's
financial performance and fiscal health has changed over time.

Debt Capacity — Schedule D-2

The Port Authority has several forms of outstanding obligations.

Information on Port Authority revenues, outstanding obligations, debt service, and
reserves is included here for statistical purposes (more detailed information about the
various kinds of debt instruments used by the Port Authority can be found in Note D,
and the reserve funds are described in Note E). Debt limitations, including in some
cases limits on total authorized amounts or requirements for the issuance of additional
bonds, may be found in the various resolutions establishing and authorizing such
Ob01~a~i0t~S.

Operating Information — Schedule D-3

Operating and service data is provided to help the reader understand how information in
the Port Authority's financial report relates to the services it provides and activities it
performs.




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Schedule [7-'1 - Selected Statistical financial Trends Gata
                                                                  2011               2010                2009          2008
                                                                                                (In thousands)

Net assets are composed of
  Invested in capital assets, net of related debt         10,020,306
                                                          $
                                                                              9,200,077
                                                                              $
                                                                                                 $ 8,415,993     $7,526,446

  Restricted                                                   294,460            222,871            211,725       409,800

  Unrestricted                                                1411,125         1,601,675           2,050,064      1,895,118

Net Assets                                                11,725,891          11,024,623          10,677,782      9,831,364



Revenues, Expenses and Changes in Net Assets
Gross operating revenues:
  Rentals                                                 $   1,150,569       $1,144,709         $ 1,115,652     $1,079,634

  Tolls and Fares                                             7,148,061        1,069,785           1,068,105      1,054,801

  Aviation Fees                                                895,356            872,774            839,327         816,628

  Parking and other fees                                       339,131            321,257            316,005         328,220

  Utilities                                                    154,810            154,041            140,817         169,576

  Rentals associated with Special Project Bonds                112 553             71 457             72,337          78,693

Gross operating revenues                                      3 800 480        3 634,023           3,552 243      3,527,552


Operating expenses:
  Employee compensation, including benefits                   1,037,681        1,022,195             974,154         941,289

  Contract services                                            726,883            630,438            683,418         670,489

  Rents and amounts in-lieu-of taxes                           280,237            272,002            276,830         274,916

  Materials, equipment and other                               219,183            418,639            263,682         314,722

  Utilities                                                    188,432            183,826             168,249        183,583

  Interest on Special Project Bonds                            172 553             71 457             72,337          78,693

Operating expenses                                            2 564 969        2 598 557            2 438 670     2,463,692


Net recoverables(expenses) related to the events
  of September 11, 2001                                                -            53,051            202,978        457,918

Depreciation of facilities                                     (852,727)          (789,011)         (712,331)      (644,620)

Amortization of costs for regional programs                     (77 537)           (76 504)           (74 617)       (70 840)

Income from operations                                          305 247            223,002            529,603        806,318


Income on investments (including fair value adjustment)         (46,898)             4,435            146,561         (4,976)

Interest expense on bonds and other asset financing            (559,110)          (501,607)         (501,892)      (488,463)

Gain (loss) on disposition of assets                                      -                 -
                                                                                                       27,125              7

4 WTC associated payments                                         8,343                     -               -              -




Contributions in aid of construction                            767,010            358,268            382,978        313,078

Passenger Facility Charges                                      214,456            210,387            201,737        211,667

1 WTC LLC/WTC Retail LLC insurance proceeds                               -         42,814             50,813         49,771

Grants                                                           23,727             11,708             10,613          9,811

Pass-through grant program payments                             (11 507)            (2 166)            (1 120)        (3,130)

Increase in net assets December 31,                       $     701,268       $    346,841        $   846,418    $   894,083




                                                                                                                          78
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        2007            2006            2005              2004              2003              2002




  $6,609,691      5,872,518
                  $
                                  5,725,929
                                  $
                                                    5,563,683
                                                    $
                                                                      5,397,959
                                                                      $
                                                                                        4,492,027
                                                                                        $




      719,306         208,771          17,916            14,651            15,153            16,505

   1,608,284      1,553,114       1,371,928         1,375,533         1,389,219         1,410,763

  $8,937,281      7,634,403
                  $
                                  7,115,773
                                  $
                                                    6,953,867
                                                    $
                                                                      6,802,331
                                                                      $
                                                                                        5,919,295
                                                                                        $




   $ 986,663      $ 952,431       $ 928,395         $ 877,306         $ 858,414         $ 832,527

      800,244         798,682         787,381           788,333           758,326           774,337

      781,355         716,700         748,811           714,766           705,302           672,175

      387,966         335,019         296,663           269,413           234,261           197,912

      149,537         146,822         147,795           121,436           112,555            97,184

       85,861          88,884          91,648            93,570            95,193            96,448

   3,191,626      3,038,538       3,000,693         2,864,824         2,764,051         2,670,583




      922,671         840,640         870,784           806,890           769,711           777,146

      587,730         590,197         564,332           545,404           543,927           622,781

      271,073         254,178         243,411           252,658           237,014           140,614

      212,147         187,996         168,139           141,367           150,961           135,321

      167,912         150,729         149,604           141,476           122,445           113,880

       85,861          88,884          91,648            93,570            95,193            96,448

    2,247,394      2,112,624       2,087,918         1,981,365         1,919,251         1,886,190




       (4,563)         (2,069)          (3,358)           (4,985)         664,211           474,663

    (632,553)      (674,940)          (643,732)         (575,539)         (488,986)         (406,484)

      (59 316)        (49,319)         (42,996)          (38,677)          (32,112)          (28,762)

      247,800         199,586          222,689           264,258           987,913          823,810



      229,812          137,968         105,579            59,047            66,148            97,812

      (493,689)       (454,134)       (422,334)         (391,870)         (344,755)         (336,725)

        17,011          (3,741)           (55)                    -           787                     -



       313,504         250,904         107,262            81,173            57,568            36,258

      221,380          192,509         134,429           125,532           109,111           110,471

       760,467         184,901                  -                 -                 -                 -




        11,310          17,469          14,336            13,396            34,501            19,892

        (4 717)         (6 832)                                            (28,237)          (11,556)

  $ 1,302,878     $    518,630     $   161,906       $   151,536       $   883,036       $   739,962




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Schedule D-2 - Selected Statistical Debt Capacity E~ata
                                                                                                    2011                  2010                  2009             2008
                                                                                                                                           (In thousands)



Gross Operating Revenues                                                                        $ 3,800,480           $ 3,634,023           $ 3,552,243       $ 3,527,552
Operating expenses                                                                               (2,564,969)           (2,598,557)           (2,438,670)       (2,463,692)
Net recoverables(expenses) related to the events of September 11, 2001 (a)                                -                53,051               202,978           457,918
Amounts in connection with operating asset obligations                                              (29 580)              (46 561)              (55,058)          (41 301)
Net operating revenues                                                                            1,205,931             1,041,956             1,261,493         1,480,477
Fina~ciai income                                                                                    (53,270)                 (900)              141,136           (19,537)
Grants and contributions inaid-of-construction, net                                                 499,516               367,810               392,471           319,759
Application of Passenger Facility Charges                                                           215,645               207,122               205,164           215,407
Application of 4 WTC Association payments                                                               8~~3
Application of 1 WTC LLCIWTC LLC Retail Insurance Proceeds                                             57,340               61,468                266,676          411,278
Restricted Net Revenues - PAICE                                                                           644                 (102)                 3 177           (4,311)
  Net Revenues available for debt service and reserves(b)                                           1,934,149             1,677,354             2,270,117        2,403,073


DEBT SERVICE - OPERATIONS
Interest on bonds and other asset financing obligations(c)                                           (480,623)             (436,622)             (427,384)       (409,175)
Debt Service Ratio `(b/c)                                                                                4.02                  3.84                  5.31            5.87
Debt maturities and retirements(d)                                                                   (140,390)             (178,095)             (147,370)       (152,275)
Debt Service Ratio *(b!(c+d))                                                                            3.11                  2.73                  3.95            4.28


APPLICATION OF RESERVES
Direct investment in facilities                                                                      (742,001)           (1,375,008)           (1,522,096)      (1,514,369)
Debt retirement acceleration                                                                           (6,100)                    -                     -
Change in appropriations for self-insurance                                                             1,949                (3,971)                6,463           2,123
Interest on bonds and other asset financing obligations                                               (37,702)               (7,580)               (8,938)        (28,797)
Repayment of asset financing obligations                                                              (20 258)              (30 062)              (13 525)        (80,775)
Net increase (decrease) in reserves                                                                   509,024              (353,984)              157,267         219,805


RESERVE BALANCES
January 1                                                                                         2 196 012             2 549 996             2 392,729 _       2 172 924
December 3l                                                                                     $ 2705036             $ 2,196,012           $ 2,549,996       $ 2,392,729


  Reserve funds balances represented by:
    General Reserve                                                                               1,783,370             1,584,955             1,412,221         1,270,215
    Consolidated Bond Reserve                                                                       921 666              611 057              1 137 775 _       1 122 514
      Total                                                                                     $ 2705 036            $ 2 196 012           $ 2 549 996       $ 2 392 729


OBLIGATIONS AT DECEMBER 31
Consolidated Bonds and Notes                                                                     $ 15,550,039          $ 13,340,378          $ 12,284,449     $ 10,794,831
Fund Buy-out obligation                                                                               359,859               373,707               386,480          398,262
MOTBY obligation                                                                                      105,141               138,396                     -                -
Amounts payable- Special Project Bonds                                                              1,741,440             1,803,145             1,064,380        1,118,105
Variable rate master notes                                                                             77,900                77,900                90,990           90,990
Commercial paper notes                                                                                396,155               354,280               321,010          186,040
Versatile structure obligations                                                                             -               175,200               250,900          399,700
Port Authority equipment notes                                                                         68,160                98,645               110,485          112,485
Tower 4 LibeAy Bonds                                                                                1 225 520                                           -                -
  Total obligations                                                                              $ 19 524 214          $ 16 361 651          $ 14 508 694     $ 13 100,473


DEBT RETIRED THROUGH INCOME:
Annual                                                                                               166,748               208,157               160,895          233,050
Cumulative                                                                                       $ 7493,306            $ 7 326 558           $ 7,118 401      $ 6,957,506


"Debt service ratios excluding net(expenses) recoverables related to the events of September 11, 2001 are as follows:

Debt Service Ratio[(b-a)/c]                                                                                4.02                  3.72                  4.84             4.75
Debt Service Ratio [(b-a)/(c+d)]                                                                           3.11                  2.64                  3.60             3.46



Note: This selected financial data is prepared primarily from information contained in Schedules A, B and C and is presented for general information
only and is not intended to reflect the specific applications of the revenues and reserves of the Port Authority, which are governed by statutes and
its bond resolutions.


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   2007               2006               2005               2004            2003                2002




$ 3,191,626      $
                      3,038,538     $    3,000,693     $    2,864,824     $2,764,051          $2,670,583
 (2,247,394)         (2,112,624)        (2,087,918)        (1,981,365)    .(1,919,251)        (1,886,190)
     (4,563)             (2,069)            (3,358)            (4,985)        664,211            474,663
    (40 7871            (42 391)           (48 008)           (34 609)        (35 113)           (35 960)
    898,882             881,454            861,409            843,865       1,473,898          1,223,096
    208,274             134,806            103,572             57,403          61,765             95,962
    320,097             261,541            121,598             94,569          63,832             44,594
    220,583             186,555            113,649

    305,532
     (1354)                   -
  1,952,014           1,464,356          1,200,228           995,837       1,599,495           1,363,652




   (417,209)          (379,361)          (355,068)          (345,129)       (291,514)           (282,635)
       4.68               3.86               3.38               2.89            5.49                4.82
   (177,160)          (254,210)          (205,220)          (211,870)       (698,280)           (181,250)
       3.28               2.31               2.14               1.79            1.62                2.94




    (808,694)          (490,750)          (626,813)          (285,441)      (542,260)           (433,747)
            _                  -                  -          (110,075)      (183,120)           (283,502)
      (3,220)            (4,968)            (5,325)               249        (15,201)            (19,017)
     (36,077)           (26,587)           (17,645)            (8,684)        (6,860)            (15,828)
    (110 424)          (109 934)           (12 205)           (10 737)        (6 329)             (5,863)
     399,230            198,546            (22,048)            24,150       (144,069)            141,810




  1 773 694           1 575 148          1 597 196          1 573 046       1 717 115     _     1,575,305
$ 2,172924       $    1,773694      $    1,575,148     $    1,597,196     $ 1,573,046         $ 1,717,115




  1,238,915           1,198,499          1,068,790          1,068,790         948,902             907,075
    934 009             575 195            506 358            528 406         624 144             810,040
$ 2 172 924      $    1 773 694     $    1 575 148     $    1 597 196     $ 1 573 046 _       $ 1,717,115




$  9,495,419     $    9,659,104     $    8,328,644     $    8,273,573     $ 7,053,296         $ 6,630,205
     409,128            419,155            420,660            422,050         423,330             424,513


   1,264,735          1,311,100          1,354,425          1,393,920       1,420,240           1,442,450
      90,990            130,990            130,990            130,990         149,990             149,990
     238,950            270,740            282,095            280,315         249,200             180,408
   1,205,600            519,600            532,100            544,000         554,500             560,600
      93,460             93,460             47,105             65,105          61,800             107,100


$ 12,798 282     $   12,404 149     $   11 096 019     $    11 109,953    $
                                                                            9,912,356         $
                                                                                                9,495,266




     287,584            364,144            217,425            332,682         887,729             470,615
$  6 724 456     $    6 436 872     $    6 072 728     $    5 855 303     $ 5 522 621         $ 4 634 892




          4.69               3.87               3.39               2.90            3.21                3.15
          3.29               2.31               2.15               1.80            0.94                1.92




                                                                                                        81
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Schedule D-3 Selected Statistical Operating Data

                                                                                       2011           2010         2009         2008         2007          2006        2005        2004        2003      2002


Authorized Port Authority sG~ng levels:


     Tunnels, Bridges and Terminals                                                      881           911          911          940          910           938       1,070        1,039       1,023     1,034

     PATH                                                                 ~            1,070         1,081         1,081       1,088        1,075          1,080      1,089        1,092       1,093     1,095

     PoA Commerce facilities                                                             170           172          172          179          168           775         183          187        191        192

     Air Terminal facilities                                                             926           958          958          978          918           953         989          999        999        997

     Development(a)                                                                       52             82           82           86          77
     Other operational and support activities (b)                                      1 957         2 030        2 030        2 082        2 208        2 259        2 382        2 403      2 409      2 418

     Subtotal                                                                          5,056         5,234        5,234        5,353        5,356          5,405      5,653        5,720       5,715     5,736

     Public Safety and Security                                                        1 721          1 743        1 743        1 774        1 772         1 776      1 541        1 547       1 519     1 499
     Total                                                                             6,777         6 977        6 977        7 127        7 128          7 181      7 194        7 267      7 234      7 235


Facility Traffic and Other Indicators (c):                                                                                                (In thousands)


INTERSTATE TRANSPORTATION NETWORK
     Tunnels and Bridges (Total Eastbound Traffic)
     George Washington Bridge                                                        50,397        51,231       52,126       52,947       53,956       54,265       53,612       54,202      52,971    54,674

     Lincoln Tunnel                                                                  19,829         20,214       20,248      20,937       27,842       21,933       21,794       21,733      21,078     20,931

     Holland Tunnel                                                                  16,590         17,037       16,609       16,871       17,349       17,365      16,982       16,963      16,566     15,764

     Staten Island Bridges                                                           32 334        32 724       32 517       32 970       33 857       33 457       33 479       33 649      33 205    33 875

     Total vehicles                                                                119,150        121,206      121,500      123,725      127,004      127,020      125,867      126,547     123,820    125,244


     Automobiles       ~                                                            708,428       110,482      110,755      112,176      115,349      115,506      114,481      115,219     112,869    114,005
     Buses                                                                            3,111          3,122        3,119        3,158        3,139      ~ 3,140        3,137        3,123      3,041      3,121

     Trucks                                                                           7 611          7 602        7 626        8 391        8 516        8 374        8 249       8 205       7 910     8 178

     Total vehicles                                                                 1 9,150       127,206      121,500      123,725      127,004      127,020      125,867      126,547     X23,820    125,244


     Bus Facility Terminals
     Bus facilities passengers                                                       76,493         75,378       75,769      76,236        71,540      72,731       69,060       69,871      69.428    69,236

     Bus movements                                                                    3,395          3,338        3,386        3,375        3,361        3,394        3,346        3,426      3,447      3,561


PATH
     Total Passengers                                                                76,600         73,911       72,277       74,956       71,592      66,966       60,787       57,725      47,920     51,920
     Passenger weekday average                                                          256            247          243          253          242           227         206          194        160       174


     Total Interstate Transportation Nehwrk Net Capital Expenditures            S 895,688 $1,005,891          $935,147 $834,742 $660,620 $491,269 $471,306 $463,652 - $751,509 $474,978


PORT COMMERCE
     Containers in twenty foot equivalent units(TEU)(in thousands)                    5,503          5,292        4,562        5,249        5,298        5,015        4,793        4,478      4,068      3,749
     International waterborne vehicles (in thousands)                                   368            493          440          724          790           725         625         670         608       634
     Waterborne bulk commodities (in metric tons)(in millions)                             4              3            5           5            7             6           5            5          3         2

     Total Port Commerce Net Capital Expenditures                               E 228,747 $ 302,858 $ 174,459 $ 181,772 $ 288,677 $ 228,873 $ 220,545 $ 258,669 $ 298,162 $ 209,942


THREE MAJOR AIR TERMINALS
     John F. Kennedy Intemaiional Airport total passengers                           47,684         46,514       45,878       47,790       47,717       42,630       40,892      37,517      31,737     29,939
     LaGuardia Airport total passengers                                              24,122         23,983       23,163       23,077       24,985       25,810       25,889      24,452      22,483     21,987
     Newark Liberty International Airport total passengers                           33 712         33 194       33 429       35 347       36 367       35 692       33,078      31,908      29,451     29,221
     Total passengers                                                               105,518        103,691      102,470      106,214     109,069      104,132        99,859      93,877      83,671     81,147


     Domestic passengers                                                             69,052         68,071       68,956       71,579       75,546       73,163       70,223      66,329      59,655     57,320
     International passengers                                                        36,466         35 620       33 514       34 635       33 523       30,969       29,636      27,548      24,016     23,827

     Total passengers                                                               105,518        103,691      102,470      106,214     109,069      104,132        99,859      93,877      83,671     81,147


     Total Cargo-tons                                                                 2,207          2,261        1,925        2,343        2,620        2,697        2,695        2,799      2,723      2,583
     Revenue Mail-tons                                                                  185            186          205          237          227           194         180          194        188        147

     Total Plane Movements                                                            1,185          1,168        1,181        1,249        1,271        1,222        1,191        1,156      1,020      1,056


     Total Air Terminals Net Capital Expenditures                               S 243,995 $ 5t 8,545 $658,292 $624,700 $685,787 $ 587,265 $ 501,476 $ 410,581                              $ 560,695 $ 784,711


(a) Reflects reorganization of Development Department in 2011. The Development Department was established in early 2007.
(b) Includes staff such as engineering, finance, human resources, legal, technical services and other activities that provide support to fhe different Port Authority lines of business.
(c)Some 2011 and 2010 numbers reflect estimated and revised data, respectively.

                                                                                                                                                                                                            82
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ScheduEe E - information on Port Authority Operations

                                                                                       Year ended December 31 2011                                                      2010
                                                    Gross                       Deprecfatlon   Income(Loss)      Interest            PFCs,              Net              Net
                                                  Operating       Operating           &             from        &Other              Grants  &         Income           Income
                                                  Revenues       Expenses(a)     Amortization    Operations   Expenses(b)            Other            (Loss)           (Loss)
                                                                                               (In thousands)
 INTERSTATE TRANSPORTATION NETWORK
  G.W. Bridge &Bus Station                       $    469,928    $   117,428    $       38,083   $      314,417    $    33,384     $      1,071   $     282,104    $    262,335
  Holland Tunnel                                      132,039         71,257            17,483           43,299         12,093              942          32,148          28,805
  Lincoln Tunnel                                      164,026         95,515            33,797           34,714         19,040            2,309          17,963          11,071
  Bayonne Bridge                                       30,047         20,780             5,194            4,073          8,410              238          (4,089)         (6,840)
  Goethals Bridge                                     131,816         24,718            12,646           94,452          8,310              244          86,386          81,827
  OuterbridgeCrossing                                 115,585         25,543            11,260           78,782          3,895              279          75,166          68,821
  P. A. Bus Terminal                                   35,536        105,719            23,288          (93,471)        20,206            1,121        (112,556)        (80,108)
  Subtotal - Tunnels, Bridges &Terminals            1 078 977        460 960           141 751          476 266        105 338            6 204         3T/ 132         365,911

   PATH                                              117,921        309,703            142,551         (334,333)        88,599          26,998         (395,934)       (429,110)
   Permanent WTC PATH Terminal                             -              -             23,090          (23,090)             -         314,212          291,122         203,591
   Journal Square Transportation Center                3,181         12,430              5,106          (14,355)         3,531                          (17,886)        (16,657)
   Subtotal -PATH                                    121,102 _      322133             170,747         (371,778)        92,130         341,210         (122,698)       (242,176)

   Ferty Transportation                                   167            590             4,442           (4,865)          3,671             498          (8,038)         (8,579)

   Access to the Regions Core(ARC)                                     2,191           10,115           (12,306)         5,674                          (17,980)        (83,651)
   Total Interstate Transportation Network          1,200,246        785,874          327,055            87,317        206,813         347,912          718,416          31,505

 AIR TERMINALS
   LaGuardia                                          334,142       236,732             45,666           51,744         30,969            8,691          29,466          42,465
  JFK International                                 1,068,759       685,318       -    150,304          233,137        114,113           11,909         130,933         187,541
   Newark Liberty International                       772,987       408,513            118,855          245,619         86,153           14,668         174,134         153,578
  Teterboro                                            36,794        22,734             11,837            2,223          7,359           19,331          14,195          12,145
  Stewart International                                 8,475        19,249                663          (11,437)           475            4,441          (7,471)         (4,137)
   Heliport                                                  -          158                   -            (158)              -                -           (158)             (2)
  PFC Program                                                        12,878            91,153          (104,031)         4,999         214,456          105,426         113,988
  Total Air Terminals                               2221 157       1385 582           418 478           417 097        244 068         273 496          446 525         505,578

 PORT COMMERCE
  Rort Newark                                         73,022          31,869            26,053          (34,300)        25,107            5,091         (54,916)        (29,092)
  Elizabeth Marine Terminal                          119,820          39,918            40,314           39,588         43,706              523          (3,595)           17,048
  Brooklyn                                             6,435          10,930               457           (4,952)         1,382              273          (6,061)         - (5,627)
  Red Hook                                             5,448          15,349                35           (9,936)              -                -         (9,936)               13
  Howland Hook                                        15,035           9,205            17,231          (11,401)         17,177                -        (28,578)        (28,124)
  Greenville Yard                                        341             (85)                 -             426               -                -           426                327
  NYNJ Rail LLC                                        1,783           4,992               379           (3,588)           407            2,747          (1,248)           (2,885)
  Port Jersey -Port Authority Marine Terminal         14,577          22,875             2,157          (10455)          9175                           (19630)         (42,326)
  TotalPOrtCommerce                                  236,461         185,053            86,626          (35218)         96,954            8,634        (123538)         (90,666)

 DEVELOPMENT
  Essex County Resource Recovery                      63,519         65,427              1,411           (3,319)            664                -         (3,983)         (1,478)
  Industrial Paris at Elizabeth                        1,068            254                286              528             372                -            156             349
  Bathgate                                             4,301          1,676              1,445            1,180             437                -            743             958
  Teleport                                            15,608         14,872              2,094           (1,358)            846                -         (2,204)         (1,266)
  Newark Legal &Communications Center                  2,739            348              3,010             (619)          1,339                -         (1,958)         (4,228)
  Queens West                                          6,645            (13)               605            6,053           1,921                -          4,132             350
  Hoboken South                                        6,920             73              2,841            4,006           3,686                             320              20
  Total Development                                  100,800         82,637             11,692            6,471           9,265                          (2,794)         (5,295)

 WORLD TRADE CENTER
  WTC Site                                            41,816         80,940              7,338          (46,462)         (4,516)       275,151         233,205          (24,532)
  One World Trade Center                                    -        21,628                   -         (21,628)            (45)       100,000          78,417           12,828
  WTC Tower 4                                               -               -                 -                -              -                -               -                -




  WTCTower5                                                 -          1,521                  -          (1,521)             (3)               -        (1,518)           9,720
  WTC Retail LLC                                                       2,188             1,538           (3,726)            (35)                        (3891)            6,375
  Total World Trade Center                            41,816         106,277             8,876          (73,337)         (4,599)       375,151         306,413            4,391

  Port Authority Insurance Captive Entity, LLC                         4,015                             (4,015)         (3,371)                          (644)               102

  Regional Programs                                                   15,531           77,537           (93,068)        60,042                         (153,110)       (151,825)

  Recoverables(expenses)related to
  the events of September 11.2007                                                                                                                              _         53,051


  Total Port Authority                           $ 3,800,480 $ 2,564,969 $            930,264 $        305,247 $       609,172 $      1,005,193   S    701,268     $    346,841


(a) Amounts include all direct operating expenses and allocated expenses.
(b) Amounts include net interest expense (interest expense less fnancial income), 4 WTC associated payments, pass-through grant program payments and gain or loss generated
    by the disposition of assets, if any.
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Schedule I~ - Informat%on on Port Authority CapitaN Pragram Gampanents

                                                                     Net
                                              Facilities, net      Capital                          Facilities, net
                                              Dec. 31,2010      Expenditures       Depreciation     Dec. 31, 2011
                                                                         (In thousands)
INTERSTATE TRANSPORTATION NETWORK
 G.W. Bridge &Bus Station                     $     806,313     $    46,981        $       38,084   $     815,210
 Holland Tunnel                                     366,602          19,229                17,483         368,348
 Lincoln Tunnel                                     459,068          34,778                33,797         460,049
 Bayonne Bridge                                     184,733          12,467                 5,194         192,006
 Goethals Bridge                                    253,408          18,081                12,646         258,843
 Outerbridge Crossing                                86,931           2,272                11,260          77,943
 P. A. Bus Terminal                                 472 062          34 951                23 288         483 725
 Subtotal - Tunnels, Bridges &Terminals           2 629 117         168 759               141 752       2 656 124

 PATH                                             1,775,477         332,189               133,918       1,973,748
 Temporary WTC PATH Station                         312,882               -                 8,634         304,248
 WTC Transportation Hub                           1,747,811         382,272                23,090       2,106,993
 Journal Square Transportation Center                90,744           6,336                 5 106          91 974
 Subtotal -PATH                                   3 926 914         720 797               170 748       4 476 963


 Ferry Transportation                               123,945           6,132                 4,442         125,635
 Access to the Region's Core(ARC)                   128,848               -                10,115         118,733
 Total Interstate Transportation Network          6.808.824         895.688               327,057       7,377,455

AIR TERMINALS
 LaGuardia                                          851,348.         (5,517)               45,665         800,166
 JFK international                                2,594,767         (36,314)              150,304       2,408,149
  Newark liberty International                    1,918,001          54,489               118,855       1,853,635
 Teterboro                                          214,952          23,702                11,837         226,817
 Stewart International                               51,322           8,668                   663          59,327
  Heliport                                                -               -                     -               -
 PFC Program                                      1 928,486         198,967                91,153       2,036,300
 Total Air Terminals                              7.558.876         243.995               418,477       7.384,394

PORT COMMERCE
 Port Newark                                        622,200          77,932                26,053         674,079
 Elizabeth Marine Terminal                        1,059,903          71,305                40,314       1,090,894
 Brooklyn                                            34,764           4,619                   457          38,926
 Red Hook                                               216             (23)                   35             158
 Howland Hook                                       465,792          65,210                17,231         513,771
 Greenville Yard / NYNJ Rail LLC                     10,641           2,872                   379          13,134
 Port Jersey-Port Authority Marine Terminal         169,361           6,832                 2,157         174,036
 Total Port Commerce                              2 362 877         228 747                86 626       2 504 998

DEVELOPMENT
 Essex County Resource Recovery                     12,701                -                 1,410          11,291
 Industrial Park at Elizabeth                        7,514                -                   286           7,228
 Bathgate                                            9,596                -                 1,445           8,151
 Teleport                                           19,070               57                 2,094          17,033
 Newark Legal &Communications Center                29,422                -                 3,010          26,412
 Queens West                                        89,063               (1)                  605          88,457
 Hoboken South                                      82,775                -                 2,841          79,934
 PreDevelopment Site Acquisition                    26,612          (26,612)                    -               -
 Total Development                                 276,753          (26,556)               11,691         238,506

WORLD TRADE CENTER
 WTC Site                                         1,154,379         578,379                 6,533       1,726,225
 One World Trade Center                           1,291,429         629,950                     -       1,921,379
 WTC Towers 2, 3 & 4                                494,215         565,575                     -       1,059,790
 WTC Memorial                                       215,742          71,150                   805         286,087




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Schedule G -       Port  Authoriky Facility Traffic*


TUNNELS AND BRIDGES                                             AIR TERMINALS
(Eastbound Traffic)                    2011          2010                                                                        2011                 2010
All Crossings                                                   Totals at the Major Airports
Automobiles                         108,428,000   110,482,000
Buses                                 3,111,000     3,122,000   Plane movements                                              1,185,419               1,167,849
Trucks                                7,611,000     7,602,000   Passengers                                                 105,518,365             103,691,426
Total vehicles                      119,150,000   121,206,000   Cargo-tons                                                   2,206,611               2,261,352
George Washington Bridge                                        Revenue mail-tons                                              185,228                 185,681
Automobiles                          46,116,000   46,954,000
Buses                                   487,000      514,000    John F. Kennedy International Airport
Trucks                                3,794,000    3,763,000    Plane movements                                                 409,383               396,912
Total vehicles                       50,397,000   51,231,000    Passengers                                                   47,683,529            46,514,154
Lincoln Tunnel                                                      Domestic                                                 23,763,046            23,404,277
Automobiles                          16,644,000    17,034,000       International                                            23,920,483            23,109,877
Buses                                 2,156,000     2,139,000   Cargo-tons                                                    1,387,330             1,392,866
Trucks                                1,029,000     1,041,000   LaGuardia Airport
Total vehicles                       19,829,000    20,214,000   Plane movements                                                 365,896                361,616
Holland Tunnel                                                  Passengers                                                   24,122,478             23,983,082
Automobiles                          15,968,000    16,460,000       Domestic                                                 23,086,756             22,950,115
Buses                                   268,000       265,000       International                                             1,035,722              1,032,967
Trucks                                  354,000       312,000   Cargo-tons                                                        7,292                  7,516
Total vehicles                       16,590,000    17,037,000   Newark Liberty International Airport
Staten Island Bridges                                           Plane movements                                                 410,140                409,321
Automobiles                          29,700,000    30,034,000   Passengers                                                   33,712,358             33,194,190
Buses                                   200,000       204,000       Domestic                                                 22,202,662             21,716,886
Trucks                                2,434,000     2,486,000       International                                            11,509,696             11,477,304
Total vehicles                       32,334,000    32,724,000   Cargo-tons                                                      811,989                860,970

BATH                                                            TERMltdQLS
                                        2011          2010                                                                        2011                 2010
Total passengers                     76,600,000    73,911,000   AlI Bus Facilities
Passenger weekday                                               Passengers                                                   76,493,000             75,377,900
average                                256,186       246,890    Bus movements                                                 3,395,000              3,338,300
                                                                Port Authority Bus Terminal
MARINE TERMINALS                                                Passengers                                                   64,550,000             63,585,000
                                       2011           2010      Bus movements                                                 2,263,500              2,220,000
All Terminals                                                   George Washington Bridge
Containers                            3,197,016     3,076,395     Bus Station
General cargo (a)(Metric tons)       33,954,000    32,170,041   Passengers                                                     4,605,000             4,510,000
Containers in twenty foot                                       Bus movements                                                    307,000               300,000
equivalent units                      5,503,485     5,292,020   PATH Journal Square
International waterborne vehicles       387,656       493,245   Transportation Center Bus Station
Waterborne bulk commodities                                     Passengers                                                     7,338,000             7,282,900
(in metric tons)                      3,885,614     3,192,132   Bus movements                                                    824,500               818,300
New Jersey Marine Terminals
Containers                            2,652,744     2,500,503   'Some 2017 and 2010 numbers reflect estimated and revised data, respecOVely.
New York Marine Terminals                                       (a)International oceanbome general cargo as recorded in the New York -New Jersey
                                       544,272       575,892       Customs District.
Containers




                                                                                                                                                              85
